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  1   Christina Goodrich (SBN 261722)
  2   christina.goodrich@klgates.com
      Connor J. Meggs (SBN 336159)
  3   connor.meggs@klgates.com
  4   K&L GATES LLP
      10100 Santa Monica Boulevard
  5   Eighth Floor
  6   Los Angeles, CA 90067
      Telephone: +1 310 552 5000
  7   Facsimile: +1 310 552 5001
  8
      Attorneys for Plaintiff
  9   Entropic Communications, LLC
 10
 11                       UNITED STATES DISTRICT COURT
 12                      CENTRAL DISTRICT OF CALIFORNIA
 13   ENTROPIC COMMUNICATIONS, LLC,            Case No. 2:23-cv-01043
 14        Plaintiff,                          ORIGINAL COMPLAINT FOR
 15                                            PATENT INFRINGEMENT
           v.
 16
      DISH NETWORK CORPORATION;
 17
      DISH NETWORK LLC; DISH
 18   NETWORK SERVICE, LLC; AND
      DISH NETWORK CALIFORNIA
 19
      SERVICE CORPORATION,
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           Defendants.
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  1         Plaintiff, Entropic Communications, LLC (“Entropic”), files this complaint for
  2   patent infringement against DISH Network Corporation, DISH Network LLC, DISH
  3   Network Service, LLC, and DISH Network California Service Corporation
  4   (collectively “DISH”) and in support thereof alleges as follows:
  5         1.     Around the turn of the millennium, cable and satellite providers were
  6   eager to deploy new and improved services, but they faced a big problem. The
  7   providers needed a high-speed data network inside buildings to deliver those services
  8   to various rooms. With existing technology, this meant installing new cabling inside
  9   each premises to carry the network. Aside from the costly materials themselves,
 10   technicians would be forced to spend hours planning the work, cutting and drilling
 11   into walls, and fishing cables throughout a building, all while doing so in ways
 12   customers might tolerate. The costs would run into the billions of dollars.
 13         2.     A group of inventors had a vision: what if they could repurpose the
 14   already-existing coaxial cables common in buildings to do the job? The challenges
 15   were daunting. Existing coaxial cabling was never intended to work this way. The
 16   mess of existing coax topologies in homes and businesses was a formidable barrier.
 17   The splitter devices used to distribute legacy TV obstructed signals from room-to-
 18   room. Making it all work would require nothing less than the invention of a new
 19   networking architecture founded upon a host of new technologies.
 20         3.     They    succeeded.    The    inventors’   company,      called   Entropic
 21   Communications Inc. (“Entropic Inc.”), made the technology work. The company
 22   was awarded a portfolio of patents for the advances that made it possible. And the
 23   company spearheaded forming a new industry standard for the architecture,
 24   commonly called MoCA.
 25         4.     Today, MoCA is the backbone of data and entertainment services for
 26   tens of millions of customers. MoCA is widely used by every major provider in the
 27   industry, saving them billions of dollars in costs and avoiding the hassle of re-wiring
 28   for providers and customers alike. Unfortunately, the defendants take advantage of

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  1   MoCA without paying appropriate licensing fees for the technology. This lawsuit is
  2   about redressing that wrong.
  3         5.     This is a civil action arising under the patent laws of the United States,
  4   35 U.S.C. § 1 et seq., including specifically 35 U.S.C. § 271, based on the defendants’
  5   infringement of U.S. Patent Nos. 7,295,518 (the “’518 Patent”), 7,594,249 (the “’249
  6   Patent”) (together the “Network Patents”); U.S. Patent Nos. 7,889,759 (the “’759
  7   Patent”), 8,085,802 (the “’802 Patent”) (together the “Node Admission Patents”);
  8   U.S. Patent Nos. 9,838,213 (the “’213 Patent”), 10,432,422 (the “’422 Patent”)
  9   (together the “PQoS Flows Patents”); U.S. Patent Nos. 8,631,450 (the “’450 Patent”),
 10   8,621,539 (the “’539 Patent”) (together the “Link Maintenance Patents”); U.S. Patent
 11   No. 8,320,566 (the “’0,566 Patent” or the “OFDMA Patent”); U.S. Patent No.
 12   10,257,566 (the “’7,566 Patent” or the “Network Coordinator Patent”); U.S. Patent
 13   No. 8,228,910 (the “’910 Patent” or the “Packet Aggregation Patent”); U.S. Patent
 14   No. 8,363,681 (the “’681 Patent” or the “Clock Sync Patent”) (collectively all of the
 15   patents are referred to herein as the “Patents-in-Suit” or “Asserted Patents”). These
 16   patents incorporate various elements of technology set forth in the Multimedia over
 17   Coax Alliance standards (the “MoCA” standards)1.
 18                                      THE PARTIES
 19         6.     Entropic is a Delaware limited liability company with an office at 7150
 20   Preston Road, Suite 300, Plano, Texas 75024.
 21         7.     Entropic is the owner by assignment to all right, title, and interest to the
 22   Patents-in-Suit. Entropic is the successor-in-interest for the Patents-in-Suit.
 23         8.     Upon information and belief, DISH Network Corporation is a Nevada
 24   corporation, with a principal place of business at 9601 S. Meridian Boulevard,
 25   Englewood, Colorado 80112.
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       Each version of the MoCA standards is referred to herein as “MoCA 1.0,” “MoCA
 28   1.1,” and “MoCA 2.0.”
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  1         9.     DISH Network Corporation has as its registered agent in California,
  2   Corporation Service Company d/b/a CSC - Lawyers Incorporating Service Company,
  3   located at 2710 Gateway Oaks Dr., Suite 150N, Sacramento, California 95833.
  4         10.    Upon information and belief, DISH Network LLC is a Colorado Limited
  5   Liability Company, with a principal place of business at 9601 S. Meridian Boulevard,
  6   Englewood, Colorado 80112.
  7         11.    DISH Network LLC has as its registered agent in California,
  8   Corporation Service Company d/b/a CSC - Lawyers Incorporating Service Company,
  9   located at 2710 Gateway Oaks Dr., Suite 150N, Sacramento, California 95833.
 10         12.    Upon information and belief, DISH Network Service, LLC is a
 11   Colorado Limited Liability Company, with a principal place of business at 9601 S.
 12   Meridian Boulevard, Englewood, Colorado 80112.
 13         13.    Upon Information and belief, DISH Network California Service
 14   Corporation (“DISH California”) is a wholly owned subsidiary of DISH Network
 15   LLC, and is a Colorado Corporation with its principal place of business at 9601 S.
 16   Meridian Boulevard, Englewood, Colorado 80112.
 17         14.    DISH California has as its registered agent in California, Corporation
 18   Service Company d/b/a CSC - Lawyers Incorporating Service Company, located at
 19   2710 Gateway Oaks Dr., Suite 150N, Sacramento, California 95833.
 20         15.    As further alleged herein, this Court has personal jurisdiction over the
 21   defendants, and venue is proper in this Judicial District.
 22                                PRESUIT DISCUSSIONS
 23         16.    Prior to filing this Complaint, Entropic sent a communication by
 24   electronic means to DISH, which was sent on March 9, 2022 in an attempt to engage
 25   DISH and/or its agents in good faith licensing discussions regarding Entropic’s patent
 26   portfolio, including the Patents-in-Suit. On December 23, 2022 and January 2, 2023,
 27   Entropic sent DISH another communication by both physical and electronic means
 28   regarding a separate license to Entropic’s patents for the field of the standardized

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  1   networking technology commonly called MoCA, and also seeking to discuss with
  2   DISH a typical non-disclosure agreement in order to share such information. DISH
  3   has not responded to any of these communications.
  4                      ENTROPIC’S LEGACY AS AN INNOVATOR
  5            17.    Entropic Inc., the predecessor-in-interest to Entropic as to the Patents-
  6   in-Suit, was founded in San Diego, California in 2001 by Dr. Anton Monk, Itzhak
  7   Gurantz, Ladd El Wardani and others. Entropic Inc. was exclusively responsible for
  8   the development of the initial versions of the MoCA standards, including MoCA 1.0,
  9   ratified in 2006, MoCA 1.1, ratified in 2007, and was instrumental in the
 10   development of MoCA 2.0, ratified in 2010. It also developed Direct Broadcast
 11   Satellite (“DBS”) Outdoor Unit (“ODU”) single wire technology, and System-on-
 12   Chip (“SoC”) solutions for set-top boxes (STBs) in the home television and home
 13   video markets.
 14            18.    Under the technical guidance of Dr. Monk, Entropic Inc. grew to be
 15   publicly listed on the NASDAQ in 2007. After the public listing, the company
 16   acquired RF Magic, Inc. in 2007, a company specializing in DBS ODU technology
 17   and related hardware.
 18            19.    Additional growth between 2007 and 2015 bolstered the technical
 19   expertise of Entropic Inc. with respect to signal acquisition, stacking, filtering,
 20   processing, and distribution for STBs and cable modems.
 21            20.    For years, Entropic Inc. pioneered innovative networking technologies,
 22   as well as television and internet related technologies. These technologies simplified
 23   the installation required to support wideband reception of multiple channels for
 24   demodulation, improved home internet performance, and enabled more efficient and
 25   responsive troubleshooting and upstream signal management for cable providers.
 26   These innovations represented significant advances in the field, simplified the
 27   implementation of those advances, and reduced expenses for providers and customers
 28   alike.

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  1         21.    In 2015, MaxLinear, Inc. (“MaxLinear”)—a leading provider of radio-
  2   frequency, analog, digital, and mixed-signal semiconductor solutions—acquired
  3   Entropic Inc., and the pioneering intellectual property developed by Dr. Monk and
  4   his team.
  5         22.    In 2021, Plaintiff Entropic was established and MaxLinear transferred
  6   to Entropic a portfolio of intellectual property representing the Entropic and
  7   MaxLinear innovation in the cable and satellite services markets.
  8                     MOCA® AND THE MOCA® STANDARDS
  9         23.    MoCA is an alliance of companies that operate in the field of technology
 10   associated with providing multimedia services, such as television operators,
 11   consumer electronics, manufacturers, semiconductor vendors, and original
 12   equipment manufacturers (OEMs). MoCA has developed and published a standard
 13   governing the operation of devices using existing coaxial cable.
 14         24.    By the year 2000, cable and satellite providers were facing the problem
 15   of distributing services as data between the various locations in a dwelling where
 16   desired by customers. This would require a full digital network, capable of
 17   communication between any node in the network, in any direction. Traditional
 18   computer networking such as Ethernet provided some of the functionality, but the
 19   cabling necessary for Ethernet or the like was (and is) very expensive to install.
 20         25.    At the time, millions of dwellings and businesses across the United
 21   States often already had existing coaxial cable (“coax”) deployed throughout the
 22   premises to provide traditional television programming services to various rooms.
 23   However, this cabling was not designed or envisaged as a two-way and point-to-point
 24   network, nor a network capable of carrying high speed digital data traffic. The coax
 25   was deployed as a “tree” topology which simply splits the signal coming from an
 26   external source (the cable or satellite feed) for distribution of video content to the
 27   various locations on the premises in the “downlink” direction only. Thus, it was
 28   impossible to simply use this existing cable to make the new point-to-point high-

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  1   quality network connections between devices located on the premises desired by the
  2   cable and satellite providers.
  3         26.    Entropic Inc. tackled the problem and managed what was considered
  4   unlikely or impossible—to make a high-speed point-to-point digital communication
  5   network using existing coax installations. This required substantial inventive effort
  6   that is embodied by the Patents-in-Suit. For example, one of the significant
  7   challenges faced by Entropic Inc. was the varying nature of the exact topology of
  8   existing on-premises coax infrastructure that a network architecture would have to
  9   handle. The topology and types of devices (such as passive or active splitters, their
 10   characteristics, etc.) greatly influence the environment for signals transferred from
 11   node to node.
 12         27.    Entropic Inc. later founded an organization to standardize the
 13   networking architecture and promote its use. This became known as the Multimedia
 14   over Coax Alliance, or “MoCA.” That acronym has also come into common usage
 15   as the name given to the networking architecture itself—now embodied in the MoCA
 16   standards. The technology defined in the MoCA standards enables the point-to-point
 17   high-quality network so badly needed by cable and satellite providers. Crucially it
 18   also provides the operators the ability to deploy their services without the enormously
 19   costly effort of installing Ethernet or similar cabling to carry the data.
 20         28.    There have been several iterations of the MoCA standards, beginning
 21   with MoCA 1.0, which was ratified in 2006. Since 2006, MoCA has ratified
 22   subsequent versions of the MoCA standards, including MoCA 1.1 and MoCA 2.0.
 23         29.    The MoCA standards ensure network robustness along with inherent
 24   low packet error rate performance and very low latency that is relatively independent
 25   of network load. The logical network model of the MoCA network is significantly
 26   different from the underlying on-premises legacy coaxial network. For example, due
 27   to the effects of splitter jumping and reflections, the channel characteristics for a link
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  1   between two MoCA nodes may be dramatically different from a link between any
  2   other two MoCA nodes.
  3         30.     The Network Patents (the ’518 and ’249 Patents) and the OFDMA
  4   Patent (the ’0,566 Patent) describe MoCA networks, including how data
  5   communicated via MoCA networks is modulated by full-mesh pre-equalization
  6   techniques known as Adaptive Constellation Multitone (ACMT), a form of OFDM
  7   modulation.
  8         31.     As described in the Network Coordinator Patent (the ’7,566 Patent)
  9   and the Node Admission Patents (the ’759 and ’802 Patents), a particular MoCA
 10   node, known as a Network Coordinator, controls the admission of nodes to the MoCA
 11   Network. The Network Coordinator sends out a variety of data packets using a
 12   modulation profile that all the MoCA nodes can receive. For broadcast and multicast
 13   transmissions, a broadcast bitloading profile can be calculated and used for each node
 14   receiving the transmissions in the MoCA network.
 15         32.     MoCA nodes use a modulation profile for every point-to-point link. A
 16   variety of probe messages are transmitted by the MoCA nodes and used to create
 17   modulation profiles, optimize performance, and allow for various calibration
 18   mechanisms. In order to maintain network performance as network conditions
 19   change, the MoCA standards define techniques to maintain optimized point-to-point
 20   and broadcast links between all of the MoCA nodes. The Link Maintenance Patents
 21   (the ’450 and ’539 Patents) describe link maintenance operations involving the
 22   processing of probe messages at regular intervals to recalculate parameters such as
 23   modulation profile and transmit power.
 24         33.     This MoCA network allows for devices (MoCA nodes) connected to a
 25   MoCA network to communicate data formatted in a variety of formats. The Packet
 26   Aggregation Patent (the ’910 Patent), for example, describes the communication
 27   of data packets in an Ethernet format, via the on-premises coaxial network without
 28   the need to deploy a separate physical network on the premises.

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  1         34.    The     Clock Sync    Patent    (the   ’681   Patent)   describes   the
  2   synchronization of the clocks of each MoCA node in the network with a master clock
  3   provided by the Network Coordinator as these transmissions are fully coordinated.
  4         35.    The MoCA standards and the PQoS Flow Patents (the ’213 and ’422
  5   Patents) describe how particular MoCA nodes can request additional network
  6   resources and/or transmission opportunities. This allows the MoCA node to transfer
  7   data more quickly across the MoCA network by borrowing resources that have been
  8   scheduled to other MoCA nodes.
  9         36.    These technological developments enable users to avoid the significant
 10   costs associated with rewiring their home or business in order to deploy a number of
 11   devices throughout the premises. Further, these technological developments allow
 12   services requiring reliable, high-speed data and video communications to be provided
 13   to the user while utilizing the on-premises coaxial network already present in the
 14   user’s home or business.
 15         37.    Entropic Inc. spearheaded MoCA, and its founders are the inventors of
 16   several patents that cover various mandatory aspects of the MoCA standards. In other
 17   words, by conforming to the MoCA standards, a product necessarily practices those
 18   patents, either by itself, as a part of a MoCA-compliant system, or in the method in
 19   which it operates.
 20               THE ACCUSED MOCA INSTRUMENTALITIES AND
 21                                ACCUSED SERVICES
 22         38.    DISH utilizes various instrumentalities, deployable as nodes in a
 23   MoCA-compliant coaxial cable network.
 24         39.    DISH deploys the instrumentalities to, inter alia, provide a whole-
 25   premises DVR network over an on-premises coaxial cable network, with DISH
 26   “Hopper” and “Joey” nodes operating with data connections compliant with MoCA
 27   1.0, 1.1, and/or 2.0. Such components are referred to herein as the “Accused MoCA
 28   Instrumentalities.” The MoCA-compliant services offered by DISH employing the

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   1   Accused MoCA Instrumentalities, including the operation of a MoCA-compliant
   2   network in which such instrumentalities are deployed, are referred to herein as the
   3   “Accused Services.”
   4         40.    An exemplary illustration of the topology of various Accused MoCA
   5   Instrumentalities in a DISH deployment is pictured below.2
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  19         41.    Upon information and belief, DISH instrumentalities including the
  20   DISH Hopper, DISH Hopper with Sling, DISH Hopper DUO, DISH Joey, DISH
  21   Joey 2, and DISH Super Joey, form networks over a coaxial cable network in
  22   accordance with MoCA 1.0 and/or 1.1.
  23         42.    Upon information and belief, DISH instrumentalities including the
  24   DISH Hopper 3, DISH 4K Joey, and DISH Joey 3 form networks over a coaxial cable
  25   network in accordance with MoCA 1.0, 1.1, and/or 2.0.
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         This is an example of the products used in the infringing network and is not
  28   intended to limit the scope of products accused of infringement.
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   1           43.    DISH’s business includes the provision of Accused Services to its
   2   customers, by means of Accused MoCA Instrumentalities.
   3           44.    Most commonly, the Accused Services are offered and provided in
   4   exchange for fees paid to DISH.
   5           45.    DISH itself also sometimes tests and demonstrates the Accused
   6   Services, by means of Accused MoCA Instrumentalities.
   7           46.    In some deployments of the Accused MoCA Instrumentalities and the
   8   performance of the Accused Services, DISH uses one or more of: DISH Hopper,
   9   DISH Hopper with Sling, DISH Hopper DUO, DISH Joey, DISH Joey 2, DISH
  10   Super Joey, DISH Hopper 3, DISH 4K Joey, and/or DISH Joey 3 to provide signals,
  11   programming and content utilizing a data connection carried over a coaxial cable
  12   network in accordance with the MoCA standards.
  13           47.    Upon information and belief, in 2012, EchoStar Corporation was the
  14   manufacturer of DISH’s Hopper and Joey products.
  15           48.    In or about January 2012, Michael Hawkey, vice president of sales and
  16   Marketing for EchoStar Corporation announced at the Consumer Electronics Show
  17   (CES) that it “chose the MoCA technology” for use in DISH’s Hopper and Joey
  18   products “to allow the best bandwidth and use of quality of service that we could get
  19   a connected system solution.”3
  20           49.    Upon information and belief, Mr. Hawkey was authorized to speak on
  21   Echostar’s behalf at CES 2012.
  22           50.    Upon information and belief, DISH subsequently acquired EchoStar’s
  23   digital set-top box business in or about 2017 and brought manufacturing of its set-
  24   top boxes, including the “Hopper” and the “Joey,” in-house.
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           https://vimeo.com/35044366
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   1         51.     DISH was aware of its deployment and use of MoCA at least as early
   2   the later of its involvement with MoCA and six years prior to the filing of this
   3   complaint.
   4         52.     Upon information and belief, DISH was aware that Entropic Inc.
   5   invented technology underlying the MoCA standards. Accordingly, such Entropic,
   6   Inc. technology would be incorporated into any instrumentality compliant with the
   7   MoCA standards.
   8         53.     Upon information and belief, DISH and/or its subsidiaries was a
   9   member of the Board of the MoCA Alliance from 2017 to 2019, which provided
  10   DISH full access to all then-existing versions of the MoCA standards.
  11         54.     Upon information and belief, DISH was aware that Entropic Inc.
  12   intended to and did pursue patent protection for technology related to MoCA, at least
  13   as early the later of its involvement with MoCA and the issue date of the Asserted
  14   Patents.
  15         55.     When DISH obtained, deployed and/or used instrumentalities with
  16   MoCA functionality not provided by Entropic Inc., DISH knew or should have
  17   known that Entropic Inc. had provided no authorization for such activities, for
  18   example by a patent license.
  19         56.     Upon information and belief, when DISH obtained, deployed and/or
  20   used instrumentalities with MoCA functionality not provided by Entropic Inc., DISH
  21   failed to investigate whether Entropic Inc. authorized the use of Entropic Inc.’s
  22   patents for such activity.
  23         57.     Alternatively, upon information and belief, when DISH obtained,
  24   deployed and/or used instrumentalities with MoCA functionality not provided by
  25   Entropic Inc., DISH knew the use of Entropic Inc.’s patents for such activity was not
  26   authorized by Entropic Inc.
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   1                              JURISDICTION AND VENUE
   2         58.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331
   3   and 1338(a) because the claims herein arise under the patent laws of the United
   4   States, 35 U.S.C. § 1 et seq., including 35 U.S.C. § 271.
   5         59.    Venue in this Judicial District is proper under 28 U.S.C. § 1400(b)
   6   because DISH has regular and established places of business in this Judicial District.
   7   The defendants, by themselves and/or through their agents have committed acts of
   8   patent infringement within the State of California and in this Judicial District by
   9   making, importing, using, selling, offering for sale, and/or leasing the Accused
  10   MoCA Instrumentalities, as well as Accused Services employing the Accused MoCA
  11   Instrumentalities, that comply with one or more of MoCA 1.0, 1.1, and/or 2.0.
  12         60.    This Court currently has before it another case involving the same
  13   parties that also concerns DISH providing satellite television services to its
  14   customers, including those in this Judicial District. Entropic Comm’s. LLC v. DISH
  15   Network Corp., Case No. 2:22-cv-07959-JWH-(JEMx) (the “DISH I CDCA”) was
  16   transferred to this Court from the Eastern District of Texas (Entropic Comm’s, LLC
  17   v. Dish Network Corp., Dish Network LLC, Dish Network Service LLC, Case No.
  18   2:22-cv-00076 JRG (“DISH I EDTX”) on October 24 2022. See DISH I CDCA, Dkt.
  19   No. 21.
  20         61.    In the order granting Entropic’s motion to transfer DISH I EDTX to this
  21   Judicial District, the district court for the Eastern District of Texas determined that
  22   this Court has personal jurisdiction over Defendants DISH Network Corporation,
  23   DISH Network Service, LLC, and DISH Network LLC. See DISH I CDCA, Dkt. No.
  24   21 at 6 (“DISH does not dispute that CDCA has subject matter jurisdiction over the
  25   instant claims, nor does it dispute that it is subject to personal jurisdiction in CDCA”).
  26         62.    The Court has general personal jurisdiction over DISH California
  27   because upon information and belief, and based on the conclusions of the district
  28   court, DISH Network Service LLC conducts systematic and regular business within

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   1   the State of California under the DISH California name. See DISH I CDCA, Dkt. No.
   2   21 at 8. Such contacts include, but are not limited to managing DISH warehouses and
   3   employing DISH employees within the State of California, and this Judicial District.
   4         63.    The Court has specific personal jurisdiction over DISH because DISH
   5   has committed acts of infringement within the State of California and this Judicial
   6   District through, for example, making infringing networks using the Accused MoCA
   7   Instrumentalities, and using the Accused MoCA Instrumentalities to provide the
   8   Accused Services in the State of California and this Judicial District.
   9         64.    The Accused Services are available to California consumers for
  10   subscription online from the DISH website.
  11         65.    DISH operates and maintains a nationwide television and data network
  12   through which it sells, leases, and offers for sale products including, the Accused
  13   MoCA Instrumentalities and Services, to businesses, consumers, and government
  14   agencies, including, within this Judicial District.
  15         66.    DISH offers various telecommunication services throughout the United
  16   States and in this Judicial District. Furthermore, as determined by the district court,
  17   DISH Network Corporation, DISH Network Service, LLC, and DISH Network LLC,
  18   “have a physical place in [this Judicial District] from which their business is carried
  19   out.” See DISH I CDCA, Dkt. No. 21, at 8.
  20         67.    Upon information and belief, DISH Network, Corporation, DISH
  21   Network LLC, and/or DISH Network Service, LLC, collectively, by themselves
  22   and/or through their agent DISH California, operates its businesses through inter alia
  23   offices, warehouses, storefronts, and/or other operational locations within this
  24   Judicial District, including, for example, at 3226 W. 131st St., Hawthorne, California,
  25   90250; 4223 Fairgrounds Street, Riverside, California 92501; 2602 South Halladay
  26   Street, Santa Ana, California; and 1500 Potrero Avenue, South El Monte, California,
  27   91733. DISH holds out these locations as its own through the use of branding both
  28   on the locations themselves, and on the vehicles that are deployed from such

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   1   locations. Likewise, DISH installation technicians employed by DISH California
   2   carry business cards that identify DISH as their employer.
   3         68.     Upon information and belief, the Accused Services are provided through
   4   and using the Accused MoCA Instrumentalities.
   5         69.     DISH has adopted and ratified the DISH-branded locations identified in
   6   this Judicial District. The DISH website advertises DISH service packages available
   7   from DISH-authorized retailers in this Judicial District, and prospective employees
   8   can find DISH job listings in this Judicial District. Furthermore, DISH’s main
   9   website has a section in its privacy statement that is made “in accordance with the
  10   California Consumer Privacy Act,” which demonstrates that DISH is purposefully
  11   holding itself out as providing products and services in California.
  12         70.     Venue is further proper because DISH has committed and continues to
  13   commit acts of patent infringement in this Judicial District, including, making, using,
  14   importing, offering to sell, and/or selling Accused Services and Accused MoCA
  15   Instrumentalities, and MoCA networks, and thereafter providing Accused Services
  16   in this Judicial District, including by Internet sales and sales via retail and wholesale
  17   stores. Furthermore, for example, DISH deploys Accused MoCA Instrumentalities to
  18   many thousands of locations (customer premises) in this Judicial District and
  19   subsequently, by means of those Accused MoCA Instrumentalities, uses the claimed
  20   inventions at those locations in this Judicial District. DISH infringes by inducing and
  21   contributing to acts of patent infringement in this Judicial District and/or committing
  22   at least a portion of any other infringements alleged herein in this Judicial District.
  23         71.     DISH continues to conduct business in this Judicial District, including
  24   the acts and activities described in the preceding paragraph.
  25                                         COUNT I
  26                            (Infringement of the ’518 Patent)
  27         72.     Entropic incorporates by reference each allegation of Paragraphs 1
  28   through 71.

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   1         73.    The ’518 Patent duly issued on November 13, 2007 from an application
   2   filed December 18, 2002, an application filed August 29, 2002 and, inter alia, a
   3   provisional application filed August 30, 2001.
   4         74.    Entropic owns all substantial rights, interest, and title in and to the ’518
   5   Patent, including the sole and exclusive right to prosecute this action and enforce the
   6   ’518 Patent against infringers, and to collect damages for all relevant times.
   7         75.    The ’518 Patent is one of the Network Patents, and is generally directed
   8   to, inter alia, broadband local area data networks using on-premises coaxial cable
   9   wiring for interconnection of devices. Probe messages can be “sent between devices
  10   to characterize the communication channel and determine optimum bit loading” for
  11   communicating data between devices. ’518 Patent, Abstract. The ’518 Patent has four
  12   claims, of which claims 1 and 4 are independent. At least these claims of the ’518
  13   Patent are directed to the creation of the MoCA network using the on-premises
  14   coaxial cable wiring. A true and accurate copy of the ’518 Patent is attached hereto
  15   as Exhibit A.
  16         76.    The ’518 Patent is directed to patent-eligible subject matter pursuant to
  17   35 U.S.C. § 101.
  18         77.    The ’518 Patent is valid and enforceable, and presumed as such,
  19   pursuant to 35 U.S.C. § 282.
  20         78.    DISH deploys one or more of the Accused MoCA Instrumentalities
  21   (e.g., DISH Hopper, DISH Hopper with Sling, DISH Hopper DUO, DISH Joey,
  22   DISH Joey 2, and DISH Super Joey, the DISH Hopper 3, the DISH 4K Joey, and/or
  23   the DISH Joey 3) in connection with operating and providing the Accused Services.
  24         79.    The Accused MoCA Instrumentalities deployed by DISH to customer
  25   premises remain the property of DISH while deployed.
  26         80.    The Accused MoCA Instrumentalities operate while deployed in a
  27   manner controlled and intended by DISH.
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   1         81.      As set forth in the attached non-limiting claim chart (Exhibit B), any
   2   product or system operating in a MoCA network compliant with the charted
   3   provisions of MoCA 1.0, 1.1, and/or 2.0 necessarily infringes at least claim 1 of the
   4   ’518 Patent.
   5         82.      Each aspect of the functioning of the Accused MoCA Instrumentalities
   6   described in the claim chart operates while deployed to customer premises in a
   7   manner controlled and intended by DISH.
   8         83.      DISH provides no software, support or other facility to customers to
   9   modify any aspect of the functioning described in the claim chart of the Accused
  10   MoCA Instrumentalities while deployed to customer premises.
  11         84.      The Accused MoCA Instrumentalities are compliant with the provisions
  12   of MoCA 1.0, 1.1., and/or 2.0, as described in the ’518 Patent claim chart, Exhibit B.
  13         85.      DISH therefore directly infringes at least claim 1 of the ’518 Patent by
  14   using the Accused MoCA Instrumentalities to provide Accused Services to
  15   customers.
  16         86.      DISH directly infringes at least claim 1 of the ’518 Patent when it, for
  17   example, uses the Accused MoCA Instrumentalities to test, demonstrate or otherwise
  18   provide Accused Services.
  19         87.      DISH directly infringes at least claim 1 of the ’518 Patent by making,
  20   importing, selling, and/or offering for sale the Accused MoCA Instrumentalities in
  21   connection with providing the Accused Services over an on-premises coaxial cable
  22   network, which meets each and every limitation of at least claim 1 of the ’518 Patent.
  23         88.      DISH had knowledge of ’518 Patent no later than its receipt of
  24   Entropic’s communications sent to DISH on March 9, 2022.
  25         89.      DISH has been aware that it infringes the ’518 Patent since at least as
  26   early as receipt of Entropic’s communications sent to DISH on March 9, 2022.
  27         90.      DISH has known of or has been willfully blind to the ’518 Patent since
  28   before the March 9, 2022 communications from Entropic.

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   1          91.    The ’518 Patent issued while or before DISH was a member of MoCA.
   2          92.    Because of DISH’s knowledge of Entropic Inc.’s work and
   3   contributions related to MoCA technology, DISH had knowledge of the ’518 Patent
   4   before March 9, 2022 or was willfully blind to its existence.
   5          93.    The claims of the ’518 Patent are essential to practicing at least MoCA
   6   standards versions 1.0, 1.1, and/or 2.0.
   7          94.    DISH knew, or was willfully blind to the fact that the technology of
   8   the ’518 Patent directly relates to networking over coaxial cable, including MoCA,
   9   at least as early as DISH became aware of the existence of the ’518 Patent. Because
  10   of its familiarity with, and access to, the MoCA standards, DISH knew, or was
  11   willfully blind to the fact, that use (by DISH or its customers) of instrumentalities
  12   compliant with MoCA 1.0, 1.1, and/or 2.0 to deliver DISH services would necessarily
  13   infringe one or more claims of the ’518 Patent.
  14          95.    Since learning of the ’518 Patent and its infringing activities, DISH has
  15   failed to cease its infringing activities.
  16          96.    DISH’s customers and subscribers directly infringe at least claim 1 of
  17   the ’518 Patent by using the Accused MoCA Instrumentalities in connection with the
  18   Accused Services provided by DISH.
  19          97.    DISH actively induces its customers’ and subscribers’ direct
  20   infringement by providing the Accused Services and associated support.
  21          98.    For example, DISH actively induces infringement of at least claim 1 of
  22   the ’518 Patent by providing the Accused MoCA Instrumentalities to DISH
  23   customers with specific instructions and/or assistance (including installation and
  24   maintenance) regarding the instantiation of a MoCA network and the use of the
  25   Accused MoCA Instrumentalities in a manner that infringes the ’518 Patent.
  26          99.    DISH aids, instructs, supports, and otherwise acts with, the intent to
  27   cause an end user to make and/or use the MoCA network and/or use the Accused
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   1   MoCA Instrumentalities in a manner that infringes each and every element of at least
   2   claim 1 of the ’518 Patent.
   3         100. Additionally, DISH contributes to the customers’ and subscribers’ direct
   4   infringement. DISH provides at least the Accused MoCA Instrumentalities that create
   5   and are at least substantially all of a MoCA network to be used to infringe at least
   6   claim 1 of the ’518 Patent.
   7         101. The Accused MoCA Instrumentalities have no substantial noninfringing
   8   uses. When an end user uses the Accused MoCA Instrumentalities in connection with
   9   the Accused Services provided by DISH, the end user necessarily directly infringes
  10   at least claim 1 of the ’518 Patent. The Accused MoCA Instrumentalities are therefore
  11   especially made or especially adapted for use in an infringing manner.
  12         102. DISH’s inducement of, and contribution to, the direct infringement of at
  13   least claim 1 of the ’518 Patent has been, and is, continuous and ongoing through the
  14   acts described above in connection with DISH’s provision of the Accused Services.
  15         103. DISH’s infringement of the ’518 Patent is, has been, and continues to
  16   be willful, intentional, deliberate, and/or in conscious disregard for Entropic’s rights
  17   under the patent.
  18         104. Entropic has been damaged as a result of the infringing conduct alleged
  19   above. DISH is liable to Entropic in an amount that compensates Entropic for DISH’s
  20   infringement, which by law cannot be less than a reasonable royalty, together with
  21   interest and costs as fixed by this Court under 35 U.S.C. § 284.
  22         105. Upon information and belief there is no duty to mark any instrumentality
  23   with the ’518 Patent in accordance with 35 U.S.C. § 287.
  24                                        COUNT II
  25                            (Infringement of the ’249 Patent)
  26         106. Entropic incorporates by reference each allegation of Paragraphs 1
  27   through 105.
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                  ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT
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   1         107. The ’249 Patent duly issued on September 22, 2009 from an application
   2   filed July 21, 2001 and a provisional application filed May 4, 2001.
   3         108. Entropic owns all substantial rights, interest, and title in and to the ’249
   4   Patent, including the sole and exclusive right to prosecute this action and enforce the
   5   ’249 Patent against infringers, and to collect damages for all relevant times.
   6         109. The ’249 Patent is one of the Network Patents, and is generally directed
   7   to, inter alia, broadband cable networks that allow devices to communicate directly
   8   over the existing coaxial cable with its current architecture without the need to
   9   modify the existing cable infrastructure. Each device communicates with the other
  10   devices in the network and establishes parameters to overcome channel impairments
  11   in the coaxial cable network. ’249 Patent, col. 3, lines 11–22. The ’249 Patent has 17
  12   claims, of which claims 1, 5, and 10 are independent. At least these claims of the
  13   ’249 Patent are directed to the creation of the MoCA network using the on-premises
  14   coaxial cable wiring. A true and accurate copy of the ’249 Patent is attached hereto
  15   as Exhibit C.
  16         110. The ’249 Patent is directed to patent-eligible subject matter pursuant to
  17   35 U.S.C. § 101.
  18         111. The ’249 Patent is valid and enforceable, and presumed as such,
  19   pursuant to 35 U.S.C. § 282.
  20         112. DISH deploys one or more of the Accused MoCA Instrumentalities
  21   (e.g., DISH Hopper, DISH Hopper with Sling, DISH Hopper DUO, DISH Joey,
  22   DISH Joey 2, and DISH Super Joey, the DISH Hopper 3, the DISH 4K Joey, and/or
  23   the DISH Joey 3) in connection with operating and providing the Accused Services.
  24         113. The Accused MoCA Instrumentalities deployed by DISH to customer
  25   premises remain the property of DISH while deployed.
  26         114. The Accused MoCA Instrumentalities operate while deployed in a
  27   manner controlled and intended by DISH.
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   1         115. As set forth in the attached non-limiting claim chart (Exhibit D), any
   2   product or system operating in a MoCA network compliant with the charted
   3   provisions of MoCA 1.0, 1.1, and/or 2.0 necessarily infringes at least claim 10 of the
   4   ’249 Patent.
   5         116. Each aspect of the functioning of the Accused MoCA Instrumentalities
   6   described in the claim chart operates while deployed to customer premises in a
   7   manner controlled and intended by DISH.
   8         117. DISH provides no software, support or other facility to customers to
   9   modify any aspect of the functioning described in the claim chart of the Accused
  10   MoCA Instrumentalities while deployed to customer premises.
  11         118. The Accused MoCA Instrumentalities are compliant with MoCA 1.0,
  12   1.1., and/or 2.0, as described in the ’249 Patent claim chart, Exhibit D.
  13         119. DISH therefore directly infringes at least claim 10 of the ’249 Patent by
  14   using the Accused MoCA Instrumentalities to provide Accused Services to
  15   customers.
  16         120. DISH directly infringes at least claim 10 of the ’249 Patent when it, for
  17   example, uses the Accused MoCA Instrumentalities to test, demonstrate or otherwise
  18   provide Accused Services.
  19         121. DISH directly infringes at least claim 10 of the ’249 Patent by making,
  20   importing, selling, and/or offering for sale the Accused MoCA Instrumentalities in
  21   connection with providing the Accused Services over an on-premises coaxial cable
  22   network, which meets each and every limitation of at least claim 10 of the ’249
  23   Patent.
  24         122. DISH had knowledge of the ’249 Patent no later than its receipt of
  25   Entropic’s communications sent to DISH on March 9, 2022.
  26         123. DISH has been aware that it infringes the ’249 Patent no later than its
  27   receipt of Entropic’s communications sent to DISH on March 9, 2022.
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   1          124. DISH has known of or has been willfully blind to the ’249 Patent since
   2   before the March 9, 2022 communications from Entropic.
   3          125. The ’249 Patent issued while or before DISH was a member of MoCA.
   4          126.    Because of DISH’s knowledge of Entropic Inc.’s work and
   5   contributions related to MoCA technology, DISH had knowledge of the ’249 Patent
   6   before March 9, 2022 or was willfully blind to its existence.
   7          127. The claims of the ’249 Patent are essential to practicing at least MoCA
   8   standards versions 1.0, 1.1, and/or 2.0.
   9          128. DISH knew, or was willfully blind to the fact that the technology of
  10   the ’249 Patent directly relates to networking over coaxial cable, including MoCA,
  11   at least as early as DISH became aware of the existence of the ’249 Patent. Because
  12   of its familiarity with, and access to, the MoCA standards, DISH knew, or was
  13   willfully blind to the fact, that use (by DISH or its customers) of instrumentalities
  14   compliant with MoCA 1.0, 1.1, and/or 2.0 to deliver DISH services would necessarily
  15   infringe one or more claims of the ’249 Patent.
  16          129. Since learning of the ’249 Patent and its infringing activities, DISH has
  17   failed to cease its infringing activities.
  18          130. DISH’s customers and subscribers directly infringe at least claim 10 of
  19   the ’249 Patent by using the Accused MoCA Instrumentalities in connection with the
  20   Accused Services provided by DISH.
  21          131. DISH actively induces its customers’ and subscribers’ direct
  22   infringement by providing the Accused Services and associated support.
  23          132. For example, DISH actively induces infringement of at least claim 10
  24   of the ’249 Patent by providing the Accused MoCA Instrumentalities to DISH
  25   customers with specific instructions and/or assistance (including installation and
  26   maintenance) regarding the instantiation of a MoCA network and the use of the
  27   Accused MoCA Instrumentalities in a manner that infringes the ’249 Patent.
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   1         133.    DISH aids, instructs, supports, and otherwise acts with the intent to
   2   cause an end user to make and/or use the MoCA network and/or use the Accused
   3   MoCA Instrumentalities in a manner that infringes every element of at least claim 10
   4   of the ’249 Patent.
   5         134. Additionally, DISH contributes to the customers’ and subscribers’ direct
   6   infringement. DISH provides at least the Accused MoCA Instrumentalities that create
   7   and are at least substantially all of a MoCA network to be used to infringe at least
   8   claim 10 of the ’249 Patent.
   9         135. The Accused MoCA Instrumentalities have no substantial noninfringing
  10   uses. When an end user uses the Accused MoCA Instrumentalities in connection with
  11   the Accused Services provided by DISH, the end user necessarily directly infringes
  12   at least claim 10 of the ’249 Patent. The Accused MoCA Instrumentalities are
  13   therefore especially made or especially adapted for use in an infringing manner.
  14         136. DISH’s inducement of, and contribution to, the direct infringement of at
  15   least claim 10 of the ’249 Patent has been, and is, continuous and ongoing through
  16   the acts described above in connection with DISH’s provision of the Accused
  17   Services.
  18         137. DISH’s infringement of the ’249 Patent is, has been, and continues to
  19   be willful, intentional, deliberate, and/or in conscious disregard for Entropic’s rights
  20   under the patent.
  21         138. Entropic has been damaged as a result of the infringing conduct alleged
  22   above. DISH is liable to Entropic in an amount that compensates Entropic for DISH’s
  23   infringement, which by law cannot be less than a reasonable royalty, together with
  24   interest and costs as fixed by this Court under 35 U.S.C. § 284.
  25         139. Entropic is aware of no obligation to mark any instrumentality with the
  26   ’249 Patent in accordance with 35 U.S.C. § 287.
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   1                                        COUNT III
   2                            (Infringement of the ’759 Patent)
   3         140. Entropic incorporates by reference each allegation of Paragraphs 1
   4   through 139.
   5         141. The ’759 Patent duly issued on February 15, 2011 from an application
   6   filed July 12, 2004, an application filed August 29, 2002, and, inter alia a provisional
   7   application filed August 30, 2001.
   8         142. Entropic owns all substantial rights, interest, and title in and to the ’759
   9   Patent, including the sole and exclusive right to prosecute this action and enforce the
  10   ’759 Patent against infringers, and to collect damages for all relevant times.
  11         143. The ’759 Patent is one of the Node Admission Patents, and is generally
  12   directed to, inter alia, broadband cable networks that allow devices to communicate
  13   directly over the existing coaxial cable with its current architecture without the need
  14   to modify the existing cable infrastructure. Each device communicates with the other
  15   devices in the network and establishes a common modulation scheme between the
  16   devices in the network. ’759 Patent, Abstract. The ’759 Patent has 22 claims, of
  17   which claims 1–7, 14, 20–22 are independent. At least these claims of the ’759 Patent
  18   are directed to a variety of techniques for establishing a modulation scheme for
  19   communications between nodes in the MoCA network. A true and correct copy of
  20   the ’759 Patent is attached hereto as Exhibit E.
  21         144. The ’759 Patent is directed to patent-eligible subject matter pursuant to
  22   35 U.S.C. § 101.
  23         145. The ’759 Patent is valid and enforceable, and presumed as such,
  24   pursuant to 35 U.S.C. § 282.
  25         146. DISH deploys one or more of the Accused MoCA Instrumentalities
  26   (e.g., DISH Hopper, DISH Hopper with Sling, DISH Hopper DUO, DISH Joey,
  27   DISH Joey 2, and DISH Super Joey, the DISH Hopper 3, the DISH 4K Joey, and/or
  28   the DISH Joey 3) in connection with operating and providing the Accused Services.

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   1         147. The Accused MoCA Instrumentalities deployed by DISH to customer
   2   premises remain the property of DISH while deployed.
   3         148. The Accused MoCA Instrumentalities operate while deployed in a
   4   manner controlled and intended by DISH.
   5         149. As set forth in the attached non-limiting claim chart (Exhibit F), any
   6   product or system operating in a MoCA network compliant with the charted
   7   provisions of MoCA 1.0, 1.1, and/or 2.0 necessarily infringes at least claim 2 of the
   8   ’759 Patent.
   9         150. Each aspect of the functioning of the Accused MoCA Instrumentalities
  10   described in the claim chart operates while deployed to customer premises in a
  11   manner controlled and intended by DISH.
  12         151. DISH provides no software, support or other facility to customers to
  13   modify any aspect of the functioning described in the claim chart of the Accused
  14   MoCA Instrumentalities while deployed to customer premises.
  15         152. The Accused MoCA Instrumentalities are compliant with MoCA 1.0,
  16   1.1., and/or 2.0, as described in the ’759 Patent claim chart, Exhibit F.
  17         153. DISH therefore directly infringes at least claim 2 of the ’759 Patent by
  18   using the Accused MoCA Instrumentalities to provide Accused Services to
  19   customers.
  20         154. DISH sells the Accused Services to its customers and subscribers for a
  21   fee. Pursuant to the sale of these services, DISH uses the method recited in at least
  22   claim 2 of the ’759 Patent to provide the Accused Services to DISH’s customers and
  23   subscribers through the Accused MoCA Instrumentalities. DISH is therefore
  24   engaging in the infringing use of at least claim 2 of the ’759 Patent in order to
  25   generate revenue from its customers and subscribers.
  26         155. DISH directly infringes at least claim 2 of the ’759 Patent when it, for
  27   example, uses the Accused MoCA Instrumentalities to test, demonstrate or otherwise
  28   provide Accused Services.

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   1          156. DISH had knowledge of the ’759 Patent no later than its receipt of
   2   Entropic’s communications sent to DISH on March 9, 2022.
   3          157. DISH has been aware that it infringes the ’759 Patent no later than its
   4   receipt of Entropic’s communications sent to DISH on March 9, 2022.
   5          158. DISH has known of or has been willfully blind to the ’759 Patent since
   6   before the March 9, 2022 communications from Entropic.
   7          159. The ’759 Patent issued while or before DISH was a member of MoCA.
   8          160. Because of DISH’s knowledge of Entropic Inc.’s work and
   9   contributions related to MoCA technology, DISH had knowledge of the ’759 Patent
  10   before March 9, 2022 or was willfully blind to its existence.
  11          161. The claims of the ’759 Patent are essential to practicing at least MoCA
  12   standards versions 1.0, 1.1, and/or 2.0.
  13          162. DISH knew, or was willfully blind to the fact that the technology of
  14   the ’759 Patent directly relates to networking over coaxial cable, including MoCA,
  15   at least as early as DISH became aware of the existence of the ’759 Patent. Because
  16   of its familiarity with, and access to, the MoCA standards, DISH knew, or was
  17   willfully blind to the fact, that use (by DISH or its customers) of instrumentalities
  18   compliant with MoCA 1.0, 1.1, and/or 2.0 to deliver DISH services would necessarily
  19   infringe one or more claims of the ’759 Patent.
  20          163. Since learning of the ’759 Patent and its infringing activities, DISH has
  21   failed to cease its infringing activities.
  22          164. DISH’s customers and subscribers directly infringe at least claim 2 of
  23   the ’759 Patent by using the Accused MoCA Instrumentalities in connection with the
  24   Accused Services provided by DISH.
  25          165. DISH actively induces its customers’ and subscribers’ direct
  26   infringement by providing the Accused Services and associated support.
  27          166. For example, DISH actively induces infringement of at least claim 2 of
  28   the ’759 Patent by providing the Accused MoCA Instrumentalities to DISH

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   1   customers with specific instructions and/or assistance (including installation and
   2   maintenance) regarding the instantiation of a MoCA network and the use of the
   3   Accused MoCA Instrumentalities to infringe the ’759 Patent.
   4         167. DISH aids, instructs, supports, and otherwise acts with the intent to
   5   cause an end user to make and/or use the MoCA network and/or use the Accused
   6   MoCA Instrumentalities to infringe every element of at least claim 2 of the ’759
   7   Patent.
   8         168. Additionally, DISH contributes to the customers’ and subscribers’ direct
   9   infringement. DISH provides at least the Accused MoCA Instrumentalities that create
  10   and are at least substantially all of a MoCA network to be used to infringe at least
  11   claim 2 of the ’759 Patent.
  12         169. The Accused MoCA Instrumentalities have no substantial noninfringing
  13   uses. When an end user uses the Accused MoCA Instrumentalities in connection with
  14   the Accused Services provided by DISH, the end user necessarily directly infringes
  15   at least claim 2 of the ’759 Patent. The Accused MoCA Instrumentalities are therefore
  16   especially made or especially adapted for use in an infringing manner.
  17         170. DISH’s inducement of, and contribution to, the direct infringement of at
  18   least claim 2 of the ’759 Patent has been, and is, continuous and ongoing through the
  19   acts described above in connection with DISH’s provision of the Accused Services.
  20         171. DISH’s infringement of the ’759 Patent is, has been, and continues to
  21   be willful, intentional, deliberate, and/or in conscious disregard for Entropic’s rights
  22   under the patent.
  23         172. Entropic has been damaged as a result of the infringing conduct alleged
  24   above. DISH is liable to Entropic in an amount that compensates Entropic for DISH’s
  25   infringement, which by law cannot be less than a reasonable royalty, together with
  26   interest and costs as fixed by this Court under 35 U.S.C. § 284.
  27         173. Upon information and belief, there is no duty to mark any
  28   instrumentality with the ’759 Patent in accordance with 35 U.S.C. § 287.

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   1                                        COUNT IV
   2                            (Infringement of the ’802 Patent)
   3         174. Entropic incorporates by reference each allegation of Paragraphs 1
   4   through 173.
   5         175. The ’802 Patent duly issued on December 27, 2011 from an application
   6   filed December 2, 2005, and a provisional application filed December 2, 2004.
   7         176. Entropic owns all substantial rights, interest, and title in and to the ’802
   8   Patent, including the sole and exclusive right to prosecute this action and enforce the
   9   ’802 Patent against infringers, and to collect damages for all relevant times.
  10         177. The ’802 Patent is one of the Node Admission Patents, and is generally
  11   directed to, inter alia, broadband cable networks that allow devices to communicate
  12   directly over the existing coaxial cable with its current architecture without the need
  13   to modify the existing cable infrastructure. Each device communicates with the other
  14   devices in the network and establishes the best modulation and other transmission
  15   parameters that is optimized and periodically adapted to the channel between each
  16   pair of devices. ’802 Patent, col. 4, lines 7–24. The ’802 Patent has four claims, all
  17   of which are independent. At least these claims of the ’802 Patent are directed to a
  18   variety of techniques for establishing a modulation scheme for communications
  19   between nodes in the MoCA network. A true and accurate copy of the ’802 Patent is
  20   attached hereto as Exhibit G.
  21         178. The ’802 Patent is directed to patent-eligible subject matter pursuant to
  22   35 U.S.C. § 101.
  23         179. The ’802 Patent is valid and enforceable, and presumed as such,
  24   pursuant to 35 U.S.C. § 282.
  25         180. DISH deploys one or more of the Accused MoCA Instrumentalities
  26   (e.g., DISH Hopper, DISH Hopper with Sling, DISH Hopper DUO, DISH Joey,
  27   DISH Joey 2, and DISH Super Joey, the DISH Hopper 3, the DISH 4K Joey, and/or
  28   the DISH Joey 3) in connection with operating and providing the Accused Services.

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   1         181. The Accused MoCA Instrumentalities deployed by DISH to customer
   2   premises remain the property of DISH while deployed.
   3         182. The Accused MoCA Instrumentalities operate while deployed in a
   4   manner controlled and intended by DISH.
   5         183. As set forth in the attached non-limiting claim chart (Exhibit H), any
   6   product or system operating in a MoCA network compliant with the charted
   7   provisions of MoCA 1.0, 1.1, and/or 2.0 necessarily infringes at least claim 3 of the
   8   ’802 Patent.
   9         184. Each aspect of the functioning of the Accused MoCA Instrumentalities
  10   described in the claim chart operates while deployed to customer premises in a
  11   manner controlled and intended by DISH.
  12         185. DISH provides no software, support or other facility to customers to
  13   modify any aspect of the functioning described in the claim chart of the Accused
  14   MoCA Instrumentalities while deployed to customer premises.
  15         186. The Accused MoCA Instrumentalities are compliant with MoCA 1.0,
  16   1.1., and/or 2.0, as described in the ’802 Patent claim chart, Exhibit H.
  17         187. DISH therefore directly infringes at least claim 3 of the ’802 Patent by
  18   using the Accused MoCA Instrumentalities to provide Accused Services to
  19   customers.
  20         188. DISH sells the Accused Services to its customers and subscribers for a
  21   fee. Pursuant to the sale of these services, DISH uses the method recited in at least
  22   claim 3 of the ’802 Patent to provide the Accused Services to DISH’s customers and
  23   subscribers through the Accused MoCA Instrumentalities. DISH is therefore
  24   engaging in the infringing use of at least claim 3 of the ’802 Patent in order to
  25   generate revenue from its customers and subscribers.
  26         189. DISH directly infringes at least claim 3 of the ’802 Patent when it, for
  27   example, uses the Accused MoCA Instrumentalities to test, demonstrate or otherwise
  28   provide Accused Services and/or the Accused MoCA Instrumentalities.

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   1          190. DISH had knowledge of the ’802 Patent no later than its receipt of
   2   Entropic’s communications sent to DISH on March 9, 2022.
   3          191. DISH has been aware that it infringes the ’802 Patent no later than its
   4   receipt of Entropic’s communication sent to DISH on March 9, 2022.
   5          192. DISH has known of or has been willfully blind to the ’802 Patent since
   6   before the March 9, 2022 communications from Entropic.
   7          193. The ’802 Patent issued while or before DISH was a member of MoCA.
   8          194. Because of DISH’s knowledge of Entropic Inc.’s work and
   9   contributions related to MoCA technology, DISH had knowledge of the ’802 Patent
  10   before March 9, 2022 or was willfully blind to its existence.
  11          195. The claims of the ’802 Patent are essential to practicing at least MoCA
  12   standards versions 1.0, 1.1, and/or 2.0.
  13          196. DISH knew, or was willfully blind to the fact that the technology of
  14   the ’802 Patent directly relates to networking over coaxial cable, including MoCA,
  15   at least as early as DISH became aware of the existence of the ’802 Patent. Because
  16   of its familiarity with, and access to, the MoCA standards, DISH knew, or was
  17   willfully blind to the fact, that use (by DISH or its customers) of instrumentalities
  18   compliant with MoCA 1.0, 1.1, and/or 2.0 to deliver DISH services would necessarily
  19   infringe one or more claims of the ’802 Patent.
  20          197. Since learning of the ’802 Patent and its infringing activities, DISH has
  21   failed to cease its infringing activities.
  22          198. DISH’s customers and subscribers directly infringe at least claim 3 of
  23   the ’802 Patent by using the Accused MoCA Instrumentalities in connection with the
  24   Accused Services provided by DISH.
  25          199. DISH actively induces its customers’ and subscribers’ direct
  26   infringement by providing the Accused Services and associated support.
  27          200. For example, DISH actively induces infringement of at least claim 3 of
  28   the ’802 Patent by providing the Accused MoCA Instrumentalities to DISH

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   1   customers with specific instructions and/or assistance (including installation and
   2   maintenance) regarding the instantiation of a MoCA network and the use of the
   3   Accused MoCA Instrumentalities to infringe the ’802 Patent.
   4         201. DISH aids, instructs, supports, and otherwise acts with the intent to
   5   cause an end user to make and/or use the MoCA network and/or use the Accused
   6   MoCA Instrumentalities to infringe every element of at least claim 3 of the ’802
   7   Patent.
   8         202. Additionally, DISH contributes to the customers’ and subscribers’ direct
   9   infringement. DISH provides at least the Accused MoCA Instrumentalities that create
  10   and are at least substantially all of a MoCA network to be used to infringe at least
  11   claim 3 of the ’802 Patent.
  12         203. The Accused MoCA Instrumentalities have no substantial noninfringing
  13   uses. When an end user uses the Accused MoCA Instrumentalities in connection with
  14   the Accused Services provided by DISH, the end user necessarily directly infringes
  15   at least claim 3 of the ’802 Patent. The Accused MoCA Instrumentalities are therefore
  16   especially made or especially adapted for use in an infringing manner.
  17         204. DISH’s inducement of, and contribution to, the direct infringement of at
  18   least claim 3 of the ’802 Patent has been, and is, continuous and ongoing through the
  19   acts described above in connection with DISH’s provision of the Accused Services.
  20         205. DISH’s infringement of the ’802 Patent is, has been, and continues to
  21   be willful, intentional, deliberate, and/or in conscious disregard for Entropic’s rights
  22   under the patent.
  23         206. Entropic has been damaged as a result of the infringing conduct alleged
  24   above. DISH is liable to Entropic in an amount that compensates Entropic for DISH’s
  25   infringement, which by law cannot be less than a reasonable royalty, together with
  26   interest and costs as fixed by this Court under 35 U.S.C. § 284.
  27         207. Upon information and belief, there is no duty to mark any
  28   instrumentality with the ’802 Patent in accordance with 35 U.S.C. § 287.

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   1                                        COUNT V
   2                            (Infringement of the ’450 Patent)
   3         208. Entropic incorporates by reference each allegation of Paragraphs 1
   4   through 207.
   5         209. The ’450 Patent duly issued on January 14, 2014, from an application
   6   filed September 19, 2005, and, inter alia, a provisional application filed December
   7   2, 2004.
   8         210. Entropic owns all substantial rights, interest, and title in and to the ’450
   9   Patent, including the sole and exclusive right to prosecute this action and enforce the
  10   ’450 Patent against infringers, and to collect damages for all relevant times.
  11         211. The ’450 Patent is one of the Link Maintenance Patents, and is generally
  12   directed to, inter alia, broadband cable networks that allow devices to communicate
  13   directly over the existing coaxial cable with its current architecture without the need
  14   to modify the existing cable infrastructure. Each device communicates with the other
  15   devices in the network and establishes a common modulation scheme between the
  16   devices in the network. ’450 Patent, col. 4, lines 12-28. The ’450 Patent has 38
  17   claims, of which, claim 1, 8, 27, 29, and 34 are independent. At least these claims of
  18   the ’450 Patent are directed to a variety of techniques for determining a common
  19   modulation scheme for communications between nodes in the MoCA network. A true
  20   and accurate copy of the ’450 Patent is attached hereto as Exhibit I.
  21         212. The ’450 Patent is directed to patent-eligible subject matter pursuant to
  22   35 U.S.C. § 101.
  23         213. The ’450 Patent is valid and enforceable, and presumed as such,
  24   pursuant to 35 U.S.C. § 282.
  25         214. DISH deploys one or more of the Accused MoCA Instrumentalities
  26   (e.g., DISH Hopper, DISH Hopper with Sling, DISH Hopper DUO, DISH Joey,
  27   DISH Joey 2, and DISH Super Joey, the DISH Hopper 3, the DISH 4K Joey, and/or
  28   the DISH Joey 3) in connection with operating and providing the Accused Services.

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   1         215. The Accused MoCA Instrumentalities deployed by DISH to customer
   2   premises remain the property of DISH while deployed.
   3         216. The Accused MoCA Instrumentalities operate while deployed in a
   4   manner controlled and intended by DISH.
   5         217. As set forth in the attached non-limiting claim chart (Exhibit J), any
   6   product or system operating in a MoCA network compliant with the charted
   7   provisions of MoCA 1.0, 1.1, and/or 2.0 necessarily infringes at least claim 29 of the
   8   ’450 Patent.
   9         218. Each aspect of the functioning of the Accused MoCA Instrumentalities
  10   described in the claim chart operates while deployed to customer premises in a
  11   manner controlled and intended by DISH.
  12         219. DISH provides no software, support or other facility to customers to
  13   modify any aspect of the functioning described in the claim chart of the Accused
  14   MoCA Instrumentalities while deployed to customer premises.
  15         220. The Accused MoCA Instrumentalities are compliant with MoCA 1.0,
  16   1.1., and/or 2.0, as described in the ’450 Patent claim chart, Exhibit J.
  17         221. DISH therefore directly infringes at least claim 29 of the ’450 Patent by
  18   using the Accused MoCA Instrumentalities to provide Accused Services to
  19   customers.
  20         222. DISH sells the Accused Services to its customers and subscribers for a
  21   fee. Pursuant to the sale of these services, DISH uses the method recited in at least
  22   claim 29 of the ’450 Patent to provide the Accused Services to DISH’s customers
  23   and subscribers through the Accused MoCA Instrumentalities. DISH is therefore
  24   engaging in the infringing use of at least claim 29 of the ’450 Patent in order to
  25   generate revenue from its customers and subscribers.
  26         223. DISH directly infringes at least claim 29 of the ’450 Patent when it, for
  27   example, uses the Accused MoCA Instrumentalities to test, demonstrate or otherwise
  28   provide Accused Services.

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   1          224. DISH had knowledge of the ’450 Patent no later than its receipt of
   2   Entropic’s communications sent to DISH on March 9, 2022.
   3          225. DISH has been aware that it infringes the ’450 Patent no later than its
   4   receipt of Entropic’s communication sent to DISH on March 9, 2022.
   5          226. DISH has known of or has been willfully blind to the ’450 Patent since
   6   before the March 9, 2022 communications from Entropic.
   7          227. The ’450 Patent issued while or before DISH was a member of MoCA.
   8          228. Because of DISH’s knowledge of Entropic Inc.’s work and
   9   contributions related to MoCA technology, DISH had knowledge of the ’450 Patent
  10   before March 9, 2022 or was willfully blind to its existence.
  11          229. The claims of the ’450 Patent are essential to practicing at least MoCA
  12   standards versions 1.0, 1.1, and/or 2.0.
  13          230. DISH knew, or was willfully blind to the fact that the technology of
  14   the ’450 Patent directly relates to networking over coaxial cable, including MoCA,
  15   at least as early as DISH became aware of the existence of the ’450 Patent. Because
  16   of its familiarity with, and access to, the MoCA standards, DISH knew, or was
  17   willfully blind to the fact, that use (by DISH or its customers) of instrumentalities
  18   compliant with MoCA 1.0, 1.1, and/or 2.0 to deliver DISH services would necessarily
  19   infringe one or more claims of the ’450 Patent.
  20          231. Since learning of the ’450 Patent and its infringing activities, DISH has
  21   failed to cease its infringing activities.
  22          232. DISH’s customers and subscribers directly infringe at least claim 29 of
  23   the ’450 Patent by using the Accused MoCA Instrumentalities in connection with the
  24   Accused Services provided by DISH.
  25          233. DISH actively induces its customers’ and subscribers’ direct
  26   infringement by providing the Accused Services and associated support.
  27          234. For example, DISH actively induces infringement of at least claim 29
  28   of the ’450 Patent by providing the Accused MoCA Instrumentalities to DISH

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   1   customers with specific instructions and/or assistance (including installation and
   2   maintenance) regarding the instantiation of a MoCA network and the use of the
   3   Accused MoCA Instrumentalities to infringe the ’450 Patent.
   4         235. DISH aids, instructs, supports, and otherwise acts with the intent to
   5   cause an end user to make and/or use the MoCA network and/or use the Accused
   6   MoCA Instrumentalities to infringe every element of at least claim 29 of the ’450
   7   Patent.
   8         236. Additionally, DISH contributes to the customers’ and subscribers’ direct
   9   infringement. DISH provides at least the Accused MoCA Instrumentalities that create
  10   and are at least substantially all of a MoCA network to be used to infringe at least
  11   claim 29 of the ’450 Patent.
  12         237. The Accused MoCA Instrumentalities have no substantial noninfringing
  13   uses. When an end user uses the Accused MoCA Instrumentalities in connection with
  14   the Accused Services provided by DISH, the end user directly infringes at least claim
  15   29 of the ’450 Patent. The Accused MoCA Instrumentalities are especially made or
  16   especially adapted for use in an infringing manner.
  17         238. DISH’s inducement of, and contribution to, the direct infringement of at
  18   least claim 29 of the ’450 Patent has been, and is, continuous and ongoing through
  19   the acts described above in connection with DISH’s provision of the Accused
  20   Services.
  21         239. DISH’s infringement of the ’450 Patent is, has been, and continues to
  22   be willful, intentional, deliberate, and/or in conscious disregard for Entropic’s rights
  23   under the patent.
  24         240. Entropic has been damaged as a result of the infringing conduct alleged
  25   above. DISH is liable to Entropic in an amount that compensates Entropic for DISH’s
  26   infringement, which by law cannot be less than a reasonable royalty, together with
  27   interest and costs as fixed by this Court under 35 U.S.C. § 284.
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   1            241.    Upon information and belief, there is no duty to mark any
   2   instrumentality with the ’450 Patent in accordance with 35 U.S.C. § 287.
   3                                         COUNT VI
   4                            (Infringement of the ’7,566 Patent)
   5            242. Entropic incorporates by reference each allegation of Paragraphs 1
   6   through 241.
   7            243. The ’7,566 Patent duly issued on April 9, 2019 from an application filed
   8   February 7, 2017, an application filed September 19, 2005, and inter alia, a
   9   provisional application filed December 2, 2004.
  10            244. Entropic owns all substantial rights, interest, and title in and to the
  11   ’7,566 Patent, including the sole and exclusive right to prosecute this action and
  12   enforce the ’7,566 Patent against infringers, and to collect damages for all relevant
  13   times.
  14            245. The ’7,566 Patent is the Network Coordinator Patent, and is generally
  15   directed to, inter alia, broadband cable networks that allow devices to communicate
  16   directly over the existing coaxial cable with its current architecture without the need
  17   to modify the existing cable infrastructure. Each device communicates with the other
  18   devices in the network and establishes the best modulation and other transmission
  19   parameters that is optimized and periodically adapted to the channel between each
  20   pair of devices. ’7,566 Patent, col. 4, lines 23–39. The ’7,566 Patent has 20 claims,
  21   of which claims 1, 11, and 19 are independent. At least these claims of the ’7,566
  22   Patent are directed to a variety of techniques for controlling the admission of nodes
  23   in the MoCA network. A true and accurate copy of the ’7,566 Patent is attached
  24   hereto as Exhibit K.
  25            246. The ’7,566 Patent is directed to patent-eligible subject matter pursuant
  26   to 35 U.S.C. § 101.
  27            247. The ’7,566 Patent is valid and enforceable, and presumed as such,
  28   pursuant to 35 U.S.C. § 282.

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   1         248. DISH deploys one or more of the Accused MoCA Instrumentalities
   2   (e.g., DISH Hopper, DISH Hopper with Sling, DISH Hopper DUO, DISH Joey,
   3   DISH Joey 2, and DISH Super Joey, the DISH Hopper 3, the DISH 4K Joey, and/or
   4   the DISH Joey 3) in connection with operating and providing the Accused Services.
   5         249. The Accused MoCA Instrumentalities deployed by DISH to customer
   6   premises remain the property of DISH while deployed.
   7         250. The Accused MoCA Instrumentalities operate while deployed in a
   8   manner controlled and intended by DISH.
   9         251. As set forth in the attached non-limiting claim chart (Exhibit L), any
  10   product or system operating in a MoCA network compliant with the charted
  11   provisions of MoCA 1.0, 1.1, and/or 2.0 necessarily infringes at least claim 11 of the
  12   ’7,566 Patent.
  13         252. Each aspect of the functioning of the Accused MoCA Instrumentalities
  14   described in the claim chart operates while deployed to customer premises in a
  15   manner controlled and intended by DISH.
  16         253. DISH provides no software, support or other facility to customers to
  17   modify any aspect of the functioning described in the claim chart of the Accused
  18   MoCA Instrumentalities while deployed to customer premises.
  19         254. The Accused MoCA Instrumentalities are compliant with MoCA 1.0,
  20   1.1., and/or 2.0, as described in the ’7,566 Patent claim chart, Exhibit L.
  21         255. DISH therefore directly infringes at least claim 11 of the ’7,566 Patent
  22   by using the Accused MoCA Instrumentalities to provide Accused Services to
  23   customers.
  24         256. DISH directly infringes at least claim 11 of the ’7,566 Patent when it,
  25   for example, uses the Accused MoCA Instrumentalities to test, demonstrate or
  26   otherwise provide Accused Services and/or the Accused MoCA Instrumentalities.
  27         257. DISH directly infringes at least claim 11 of the ’7,566 Patent by making,
  28   importing, selling, and/or offering for sale the Accused MoCA Instrumentalities,

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   1   which meet every limitation of at least claim 11 of the ’7,566 Patent, in connection
   2   with providing the Accused Services over an on-premises coaxial cable network.
   3          258. DISH had knowledge of the ’7,566 Patent no later than its receipt of
   4   Entropic’s communications sent to DISH on March 9, 2022.
   5          259. DISH has been aware that it infringes the ’7,566 Patent no later than its
   6   receipt of Entropic’s communication sent to DISH on March 9, 2022.
   7          260. DISH has known of or has been willfully blind to the ’7,566 Patent since
   8   before the March 9, 2022 communications from Entropic.
   9          261. The ’7,566 Patent issued while or before DISH was a member of MoCA.
  10          262. Because of DISH’s knowledge of Entropic Inc.’s work and
  11   contributions related to MoCA technology, DISH had knowledge of the ’7,566 Patent
  12   before March 9, 2022 or was willfully blind to its existence.
  13          263. The claims of the ’7,566 Patent are essential to practicing at least MoCA
  14   standards versions 1.0, 1.1, and/or 2.0.
  15          264. DISH knew, or was willfully blind to the fact that the technology of
  16   the ’7,566 Patent directly relates to networking over coaxial cable, including MoCA,
  17   at least as early as DISH became aware of the existence of the ’7,566 Patent. Because
  18   of its familiarity with, and access to, the MoCA standards, DISH knew, or was
  19   willfully blind to the fact, that use (by DISH or its customers) of instrumentalities
  20   compliant with MoCA 1.0, 1.1, and/or 2.0 to deliver DISH services would necessarily
  21   infringe one or more claims of the ’7,566 Patent.
  22          265. Since learning of the ’7,566 Patent and its infringing activities, DISH
  23   has failed to cease its infringing activities.
  24          266. DISH’s customers and subscribers directly infringe at least claim 11 of
  25   the ’7,566 Patent by using the Accused MoCA Instrumentalities in connection with
  26   the Accused Services provided by DISH.
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   1         267. DISH actively induces its customers’ and subscribers’ direct
   2   infringement by providing the Accused Services through the Accused MoCA
   3   Instrumentalities, and associated support.
   4         268. For example, DISH actively induces infringement of at least claim 11
   5   of the ’7,566 Patent by providing the Accused MoCA Instrumentalities to DISH
   6   customers with specific instructions and/or assistance (including installation and
   7   maintenance) regarding the instantiation of a MoCA network and the use of the
   8   Accused MoCA Instrumentalities to infringe the ’7,566 Patent.
   9         269. DISH aids, instructs, supports, and otherwise acts with the intent to
  10   cause an end user to make and/or use the MoCA network and/or use the Accused
  11   MoCA Instrumentalities to infringe every element of at least claim 11 of the ’7,566
  12   Patent.
  13         270. Additionally, DISH contributes to the customers’ and subscribers’ direct
  14   infringement. DISH provides, inter alia, the Accused MoCA Instrumentalities
  15   designed and configured to create a MoCA network and operate as nodes in the
  16   network, the use of which infringes at least claim 11 of the ’7,566 Patent.
  17         271. The Accused MoCA Instrumentalities have no substantial noninfringing
  18   uses. When an end user uses the Accused MoCA Instrumentalities in connection with
  19   the Accused Services provided by DISH, the end user directly infringes at least claim
  20   11 of the ’7,566 Patent. The Accused MoCA Instrumentalities are therefore
  21   especially made or especially adapted for use in an infringing manner.
  22         272. DISH’s inducement of, and contribution to, the direct infringement of at
  23   least claim 11 of the ’7,566 Patent has been, and is, continuous and ongoing through
  24   the acts described above in connection with DISH’s provision of the Accused
  25   Services.
  26         273. DISH’s infringement of the ’7,566 Patent is, has been, and continues to
  27   be willful, intentional, deliberate, and/or in conscious disregard for Entropic’s rights
  28   under the patent.

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   1           274. Entropic has been damaged as a result of the infringing conduct alleged
   2   above. DISH is liable to Entropic in an amount that compensates Entropic for DISH’s
   3   infringement, which by law cannot be less than a reasonable royalty, together with
   4   interest and costs as fixed by this Court under 35 U.S.C. § 284.
   5           275. Entropic is aware of no obligation to mark any instrumentality with the
   6   ’7,566 Patent in accordance with 35 U.S.C. § 287.
   7                                         COUNT VII
   8                             (Infringement of the ’539 Patent)
   9           276. Entropic incorporates by reference each allegation of Paragraphs 1
  10   through 275.
  11           277. The ’539 Patent duly issued on December 31, 2013 from an application
  12   filed September 29, 2005 and, inter alia, a provisional application filed December 2,
  13   2004.
  14           278. Entropic owns all substantial rights, interest, and title in and to the ’539
  15   Patent, including the sole and exclusive right to prosecute this action and enforce the
  16   ’539 Patent against infringers, and to collect damages for all relevant times.
  17           279. The ’539 Patent is one of the Link Maintenance Patents, and is generally
  18   directed to, inter alia, a physical layer transmitter that performs all of the necessary
  19   RF, analog and digital processing required for transmitting MAC messages between
  20   devices in a broadband cable network. ’539 Patent, col. 4, lines 37–48. The ’539
  21   Patent has seven claims, of which claim 1 is independent. At least this claim of the
  22   ’539 Patent is directed at a variety of techniques for monitoring and maintaining
  23   utilized modulation profiles in the MoCA network. A true and accurate copy of the
  24   ’539 Patent is attached hereto as Exhibit M.
  25           280. The ’539 Patent is directed to patent-eligible subject matter pursuant to
  26   35 U.S.C. § 101.
  27           281. The ’539 Patent is valid and enforceable, and presumed as such,
  28   pursuant to 35 U.S.C. § 282.

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   1         282. DISH deploys one or more of the Accused MoCA Instrumentalities
   2   (e.g., DISH Hopper, DISH Hopper with Sling, DISH Hopper DUO, DISH Joey,
   3   DISH Joey 2, and DISH Super Joey, the DISH Hopper 3, the DISH 4K Joey, and/or
   4   the DISH Joey 3) in connection with operating and providing the Accused Services.
   5         283. The Accused MoCA Instrumentalities deployed by DISH to customer
   6   premises remain the property of DISH while deployed.
   7         284. The Accused MoCA Instrumentalities operate while deployed in a
   8   manner controlled and intended by DISH.
   9         285. As set forth in the attached non-limiting claim chart (Exhibit N), any
  10   product or system operating in a MoCA network compliant with the charted
  11   provisions of MoCA 1.0, 1.1, and/or 2.0 necessarily infringes at least claim 1 of the
  12   ’539 Patent.
  13         286. Each aspect of the functioning of the Accused MoCA Instrumentalities
  14   described in the claim chart operates while deployed to customer premises in a
  15   manner controlled and intended by DISH.
  16         287. DISH provides no software, support or other facility to customers to
  17   modify any aspect of the functioning described in the claim chart of the Accused
  18   MoCA Instrumentalities while deployed to customer premises.
  19         288. The Accused MoCA Instrumentalities are compliant with MoCA 1.0,
  20   1.1., and/or MoCA 2.0, as described in the ’539 Patent claim chart, Exhibit N.
  21         289. DISH therefore directly infringes at least claim 1 of the ’539 Patent by
  22   using the Accused MoCA Instrumentalities to provide Accused Services to
  23   customers.
  24         290. DISH directly infringes at least claim 1 of the ’539 Patent when it, for
  25   example, uses the Accused MoCA Instrumentalities to test, demonstrate or otherwise
  26   provide Accused Services.
  27         291. DISH directly infringes at least claim 1 of the ’539 Patent by making,
  28   importing, selling, and/or offering for sale the Accused MoCA Instrumentalities,

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   1   which meet every limitation of at least claim 1 of the ’539 Patent, in connection with
   2   providing the Accused Services over an on-premises coaxial cable network.
   3          292. DISH had knowledge of the ’539 Patent no later than its receipt of
   4   Entropic’s communications sent to DISH on March 9, 2022.
   5          293. DISH has been aware that it infringes the ’539 Patent no later than its
   6   receipt of Entropic’s communication sent to DISH on March 9, 2022.
   7          294. DISH has known of or has been willfully blind to the ’539 Patent since
   8   before the March 9, 2022 communications from Entropic.
   9          295. The ’539 Patent issued while or before DISH was a member of MoCA.
  10          296. Because of DISH’s knowledge of Entropic Inc.’s work and
  11   contributions related to MoCA technology, DISH had knowledge of the ’539 Patent
  12   before March 9, 2022 or was willfully blind to its existence.
  13          297. The claims of the ’539 Patent are essential to practicing at least MoCA
  14   standards versions 1.0, 1.1, and/or 2.0.
  15          298. DISH knew, or was willfully blind to the fact that the technology of
  16   the ’539 Patent directly relates to networking over coaxial cable, including MoCA,
  17   at least as early as DISH became aware of the existence of the ’539 Patent. Because
  18   of its familiarity with, and access to, the MoCA standards, DISH knew, or was
  19   willfully blind to the fact, that use (by DISH or its customers) of instrumentalities
  20   compliant with MoCA 1.0, 1.1, and/or 2.0 to deliver DISH services would necessarily
  21   infringe one or more claims of the ’539 Patent.
  22          299. Since learning of the ’539 Patent and its infringing activities, DISH has
  23   failed to cease its infringing activities.
  24          300. DISH’s customers and subscribers directly infringe at least claim 1 of
  25   the ’539 Patent by using the Accused MoCA Instrumentalities in connection with the
  26   Accused Services provided by DISH.
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   1         301. DISH actively induces its customers’ and subscribers’ direct
   2   infringement by providing the Accused Services through the Accused MoCA
   3   Instrumentalities, and associated support.
   4         302. For example, DISH actively induces infringement of at least claim 1 of
   5   the ’539 Patent by providing the Accused MoCA Instrumentalities to DISH
   6   customers with specific instructions and/or assistance (including installation and
   7   maintenance) regarding the instantiation of a MoCA network and the use of the
   8   Accused MoCA Instrumentalities to infringe the ’539 Patent.
   9         303. DISH aids, instructs, supports, and otherwise acts with the intent to
  10   cause an end user to make and/or use the MoCA network and/or use the Accused
  11   MoCA Instrumentalities to infringe every element of at least claim 1 of the ’539
  12   Patent.
  13         304. Additionally, DISH contributes to the customers’ and subscribers’ direct
  14   infringement. DISH provides, inter alia, the Accused MoCA Instrumentalities
  15   designed and configured to create a MoCA network and operate as nodes in the
  16   network, the use of which infringes at least claim 1 of the ‘539 Patent.
  17         305. The Accused MoCA Instrumentalities have no substantial noninfringing
  18   uses. When an end user uses the Accused MoCA Instrumentalities in connection with
  19   the Accused Services provided by DISH, the end user directly infringes at least claim
  20   1 of the ’539 Patent. The Accused MoCA Instrumentalities are therefore especially
  21   made or especially adapted for use in an infringing manner.
  22         306. DISH’s inducement of, and contribution to, the direct infringement of at
  23   least claim 1 of the ’539 Patent has been, and is, continuous and ongoing through the
  24   acts described above in connection with DISH’s provision of the Accused Services.
  25         307. DISH’s infringement of the ’539 Patent is, has been, and continues to
  26   be willful, intentional, deliberate, and/or in conscious disregard for Entropic’s rights
  27   under the patent.
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   1           308. Entropic has been damaged as a result of the infringing conduct alleged
   2   above. DISH is liable to Entropic in an amount that compensates Entropic for DISH’s
   3   infringement, which by law cannot be less than a reasonable royalty, together with
   4   interest and costs as fixed by this Court under 35 U.S.C. § 284.
   5           309. Entropic is aware of no obligation to mark any instrumentality with the
   6   ’539 Patent in accordance with 35 U.S.C. § 287.
   7                                        COUNT VIII
   8                             (Infringement of the ’213 Patent)
   9           310. Entropic incorporates by reference each allegation of Paragraphs 1
  10   through 309.
  11           311. The ’213 Patent duly issued on December 5, 2017 from an application
  12   filed February 6, 2008, and, inter alia, a provisional application filed on February 6
  13   2007.
  14           312. Entropic owns all substantial rights, interest, and title in and to the ’213
  15   Patent, including the sole and exclusive right to prosecute this action and enforce the
  16   ’213 Patent against infringers, and to collect damages for all relevant times.
  17           313. The ’213 Patent is one of the PQoS Flows Patents, and is generally
  18   directed to, inter alia, low-cost and high-speed management of resources within a
  19   network in order to secure the capability to distribute multimedia data (such as
  20   video/audio, games, images, generic data, and interactive services) between devices
  21   within existing on-premises coaxial cable networks. ’213 Patent, col. 3, lines 46–53.
  22   The ’213 Patent has 24 claims, of which claims 1, 13, and 23 are independent. At
  23   least these claims of the ’213 Patent are directed to a variety of techniques for
  24   allocating resources for guaranteed quality of service flows in the MoCA network. A
  25   true and accurate copy of the ’213 Patent is attached hereto as Exhibit O.
  26           314. The ’213 Patent is directed to patent-eligible subject matter pursuant to
  27   35 U.S.C. § 101.
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   1         315. The ’213 Patent is valid and enforceable, and presumed as such,
   2   pursuant to 35 U.S.C. § 282.
   3         316. DISH deploys one or more of the Accused MoCA Instrumentalities
   4   (e.g., DISH Hopper, DISH Hopper with Sling, DISH Hopper DUO, DISH Joey,
   5   DISH Joey 2, and DISH Super Joey, the DISH Hopper 3, the DISH 4K Joey, and/or
   6   the DISH Joey 3) in connection with operating and providing the Accused Services.
   7         317. The Accused MoCA Instrumentalities deployed by DISH to customer
   8   premises remain the property of DISH while deployed.
   9         318. The Accused MoCA Instrumentalities operate while deployed in a
  10   manner controlled and intended by DISH.
  11         319. As set forth in the attached non-limiting claim chart (Exhibit P), any
  12   product or system operating in a MoCA network compliant with the charted
  13   provisions of MoCA 1.1, or 2.0 necessarily infringes at least claim 1 of the ’213
  14   Patent.
  15         320. Each aspect of the functioning of the Accused MoCA Instrumentalities
  16   described in the claim chart operates while deployed to customer premises in a
  17   manner controlled and intended by DISH.
  18         321. DISH provides no software, support or other facility to customers to
  19   modify any aspect of the functioning described in the claim chart of the Accused
  20   MoCA Instrumentalities while deployed to customer premises.
  21         322. The Accused MoCA Instrumentalities are compliant with MoCA 1.1
  22   and/or MoCA 2.0, as described in the ’213 Patent claim chart, Exhibit P.
  23         323. DISH therefore directly infringes at least claim 1 of the ’213 Patent by
  24   using the Accused MoCA Instrumentalities to provide Accused Services to
  25   customers.
  26         324. DISH sells the Accused Services to its customers and subscribers for a
  27   fee. Pursuant to the sale of these services, DISH uses the method recited in at least
  28   claim 1 of the ’213 Patent to provide the Accused Services to DISH’s customers and

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   1   subscribers through the Accused MoCA Instrumentalities. DISH is therefore
   2   engaging in the infringing use of at least claim 1 of the ’213 Patent in order to
   3   generate revenue from its customers and subscribers.
   4          325. DISH directly infringes at least claim 1 of the ’213 Patent when it, for
   5   example, uses the Accused MoCA Instrumentalities to test, demonstrate or otherwise
   6   provide Accused Services.
   7          326. DISH had knowledge of the ’213 Patent no later than its receipt of
   8   Entropic’s communications sent to DISH on March 9, 2022.
   9          327. DISH has been aware that it infringes the ’213 Patent no later than its
  10   receipt of Entropic’s communications sent to DISH on March 9, 2022.
  11          328. DISH has known of or has been willfully blind to the ’213 Patent since
  12   before the March 9, 2022 communications from Entropic.
  13          329. The ’213 Patent issued while or before DISH was a member of MoCA.
  14          330. Because of DISH’s knowledge of Entropic Inc.’s work and
  15   contributions related to MoCA technology, DISH had knowledge of the ’213 Patent
  16   before March 9, 2022 or was willfully blind to its existence.
  17          331. The claims of the ’213 Patent are essential to practicing at least MoCA
  18   standards versions 1.1, and/or 2.0.
  19          332. DISH knew, or was willfully blind to the fact that the technology of
  20   the ’213 Patent directly relates to networking over coaxial cable, including MoCA,
  21   at least as early as DISH became aware of the existence of the ’213 Patent. Because
  22   of its familiarity with, and access to, the MoCA standards, DISH knew, or was
  23   willfully blind to the fact, that use (by DISH or its customers) of instrumentalities
  24   compliant with MoCA 1.1, and/or 2.0 to deliver DISH services would necessarily
  25   infringe one or more claims of the ’213 Patent.
  26          333. Since learning of the ’213 Patent and its infringing activities, DISH has
  27   failed to cease its infringing activities.
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   1         334. DISH’s customers and subscribers directly infringe at least claim 1 of
   2   the ’213 Patent by using the Accused MoCA Instrumentalities in connection with the
   3   Accused Services provided by DISH.
   4         335. DISH actively induces its customers’ and subscribers’ direct
   5   infringement by providing the Accused Services and associated support.
   6         336. For example, DISH actively induces infringement of at least claim 1 of
   7   the ’213 Patent by providing the Accused MoCA Instrumentalities to DISH
   8   customers with specific instructions and/or assistance (including installation and
   9   maintenance) regarding the instantiation of a MoCA network and the use of the
  10   Accused MoCA Instrumentalities to infringe the ’213 Patent.
  11         337. DISH aids, instructs, supports, and otherwise acts with the intent to
  12   cause an end user to make and/or use the MoCA network and/or use the Accused
  13   MoCA Instrumentalities to infringe every element of at least claim 1 of the ’213
  14   Patent.
  15         338. Additionally, DISH contributes to the customers’ and subscribers’ direct
  16   infringement. DISH provides at least the Accused MoCA Instrumentalities that create
  17   and are at least substantially all of a MoCA network to be used to infringe at least
  18   claim 1 of the ’213 Patent.
  19         339. The Accused MoCA Instrumentalities have no substantial noninfringing
  20   uses. When an end user uses the Accused MoCA Instrumentalities in connection with
  21   the Accused Services provided by DISH, the end user directly infringes at least claim
  22   1 of the ’213 Patent. The Accused MoCA Instrumentalities are therefore especially
  23   made or especially adapted for use in an infringing manner.
  24         340. DISH’s inducement of, and contribution to, the direct infringement of at
  25   least claim 1 of the ’213 Patent has been, and is, continuous and ongoing through the
  26   acts described above in connection with DISH’s provision of the Accused Services.
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   1         341. DISH’s infringement of the ’213 Patent is, has been, and continues to
   2   be willful, intentional, deliberate, and/or in conscious disregard for Entropic’s rights
   3   under the patent.
   4         342. Entropic has been damaged as a result of the infringing conduct alleged
   5   above. DISH is liable to Entropic in an amount that compensates Entropic for DISH’s
   6   infringement, which by law cannot be less than a reasonable royalty, together with
   7   interest and costs as fixed by this Court under 35 U.S.C. § 284.
   8         343. Upon information and belief, there is no duty to mark any
   9   instrumentality with the ’213 Patent in accordance with 35 U.S.C. § 287(a).
  10                                        COUNT IX
  11                            (Infringement of the ’422 Patent)
  12         344. Entropic incorporates by reference each allegation of Paragraphs 1
  13   through 343.
  14         345. The ’422 Patent duly issued on October 1, 2019 from an application
  15   filed December 5, 2017, an application filed February 6, 2008, and, inter alia, a
  16   provisional application filed February 6, 2007.
  17         346. Entropic owns all substantial rights, interest, and title in and to the ’422
  18   Patent, including the sole and exclusive right to prosecute this action and enforce the
  19   ’422 Patent against infringers, and to collect damages for all relevant times.
  20         347. The ’422 Patent is one of the PQoS Flows Patents, and is generally
  21   directed to, inter alia, low-cost and high-speed management of resources within a
  22   network in order to secure the capability to distribute multimedia data (such as
  23   video/audio, games, images, generic data, and interactive services) between devices
  24   within existing on-premises coaxial cable networks. ’422 Patent, col. 3, lines 53–60.
  25   The ’422 Patent has 20 claims, of which, claims 1, 5, 12–17 are independent. At least
  26   these claims of the ’422 Patent are directed to a variety of techniques for allocating
  27   resources for guaranteed quality of service flows in the MoCA network. A true and
  28   accurate copy of the ’422 Patent is attached hereto as Exhibit Q.

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   1         348. The ’422 Patent is directed to patent-eligible subject matter pursuant to
   2   35 U.S.C. § 101.
   3         349. The ’422 Patent is valid and enforceable, and presumed as such,
   4   pursuant to 35 U.S.C. § 282.
   5         350. DISH deploys one or more of the Accused MoCA Instrumentalities
   6   (e.g., DISH Hopper, DISH Hopper with Sling, DISH Hopper DUO, DISH Joey,
   7   DISH Joey 2, and DISH Super Joey, the DISH Hopper 3, the DISH 4K Joey, and/or
   8   the DISH Joey 3) in connection with operating and providing the Accused Services.
   9         351. The Accused MoCA Instrumentalities deployed by DISH to customer
  10   premises remain the property of DISH while deployed.
  11         352. The Accused MoCA Instrumentalities operate while deployed in a
  12   manner controlled and intended by DISH.
  13         353. As set forth in the attached non-limiting claim chart (Exhibit R), any
  14   product or system operating in a MoCA network compliant with the charted
  15   provisions of MoCA 1.1, or 2.0 necessarily infringes at least claim 1 of the ’422
  16   Patent.
  17         354. Each aspect of the functioning of the Accused MoCA Instrumentalities
  18   described in the claim chart operates while deployed to customer premises in a
  19   manner controlled and intended by DISH.
  20         355. DISH provides no software, support or other facility to customers to
  21   modify any aspect of the functioning described in the claim chart of the Accused
  22   MoCA Instrumentalities while deployed to customer premises.
  23         356. The Accused MoCA Instrumentalities are compliant with MoCA 1.1
  24   and/or MoCA 2.0, as described in the ’422 Patent claim chart, Exhibit R.
  25         357. DISH therefore directly infringes at least claim 1 of the ’422 Patent by
  26   using the Accused MoCA Instrumentalities to provide Accused Services to
  27   customers.
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   1          358. DISH directly infringes at least claim 1 of the ’422 Patent when it, for
   2   example, uses the Accused MoCA Instrumentalities to test, demonstrate or otherwise
   3   provide Accused Services.
   4          359. DISH directly infringes at least claim 1 of the ’422 Patent by making,
   5   importing, selling, and/or offering for sale the Accused MoCA Instrumentalities in
   6   connection with providing the Accused Services over an on-premises coaxial cable
   7   network, which meets every limitation of at least claim 1 of the ’422 Patent.
   8          360. DISH had knowledge of the ’422 Patent no later than its receipt of
   9   Entropic’s communications sent to DISH on March 9, 2022.
  10          361. DISH has been aware that it infringes the ’422 Patent no later than its
  11   receipt of Entropic’s communication sent to DISH on March 9, 2022.
  12          362. DISH has known of or has been willfully blind to the ’422 Patent since
  13   before the March 9, 2022 communications from Entropic.
  14          363. The ’422 Patent issued while or before DISH was a member of MoCA.
  15          364. Because of DISH’s knowledge of Entropic Inc.’s work and
  16   contributions related to MoCA technology, DISH had knowledge of the ’422 Patent
  17   before March 9, 2022 or was willfully blind to its existence.
  18          365. The claims of the ’422 Patent are essential to practicing at least MoCA
  19   standards versions 1.1, and/or 2.0.
  20          366. DISH knew, or was willfully blind to the fact that the technology of
  21   the ’422 Patent directly relates to networking over coaxial cable, including MoCA,
  22   at least as early as DISH became aware of the existence of the ’422 Patent. Because
  23   of its familiarity with, and access to, the MoCA standards, DISH knew, or was
  24   willfully blind to the fact, that use (by DISH or its customers) of instrumentalities
  25   compliant with MoCA 1.1, and/or 2.0 to deliver DISH services would necessarily
  26   infringe one or more claims of the ’422 Patent.
  27          367. Since learning of the ’422 Patent and its infringing activities, DISH has
  28   failed to cease its infringing activities.

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   1         368. DISH’s customers and subscribers directly infringe at least claim 1 of
   2   the ’422 Patent by using the Accused MoCA Instrumentalities in connection with the
   3   Accused Services provided by DISH.
   4         369. DISH actively induces its customers’ and subscribers’ direct
   5   infringement by providing the Accused Services and associated support.
   6         370. For example, DISH actively induces infringement of at least claim 1 of
   7   the ’422 Patent by providing the Accused MoCA Instrumentalities to DISH
   8   customers with specific instructions and/or assistance (including installation and
   9   maintenance) regarding the instantiation of a MoCA network and the use of the
  10   Accused MoCA Instrumentalities to infringe the ’422 Patent.
  11         371. DISH aids, instructs, supports, and otherwise acts with the intent to
  12   cause an end user to make and/or use the MoCA network and/or use the Accused
  13   MoCA Instrumentalities to infringe every element of at least claim 1 of the ’422
  14   Patent.
  15         372. Additionally, DISH contributes to the customers’ and subscribers’ direct
  16   infringement. DISH provides at least the Accused MoCA Instrumentalities that create
  17   and are at least substantially all of a MoCA network to be used to infringe at least
  18   claim 1 of the ’422 Patent.
  19         373. The Accused MoCA Instrumentalities have no substantial noninfringing
  20   uses. When an end user uses the Accused MoCA Instrumentalities in connection with
  21   the Accused Services provided by DISH, the end user directly infringes at least claim
  22   1 of the ’422 Patent. The Accused MoCA Instrumentalities are therefore especially
  23   made or especially adapted for use in an infringing manner.
  24         374. DISH’s inducement of, and contribution to, the direct infringement of at
  25   least claim 1 of the ’422 Patent has been, and is, continuous and ongoing through the
  26   acts described above in connection with DISH’s provision of the Accused Services.
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   1         375. DISH’s infringement of the ’422 Patent is, has been, and continues to
   2   be willful, intentional, deliberate, and/or in conscious disregard for Entropic’s rights
   3   under the patent.
   4         376. Entropic has been damaged as a result of the infringing conduct alleged
   5   above. DISH is liable to Entropic in an amount that compensates Entropic for DISH’s
   6   infringement, which by law cannot be less than a reasonable royalty, together with
   7   interest and costs as fixed by this Court under 35 U.S.C. § 284.
   8         377. Upon information and belief, there is no duty to mark any
   9   instrumentality with the ’422 Patent in accordance with 35 U.S.C. § 287.
  10                                         COUNT X
  11                            (Infringement of the ’910 Patent)
  12         378. Entropic incorporates by reference each allegation of Paragraphs 1
  13   through 377.
  14         379. The ’910 Patent duly issued on July 24, 2012 from an application filed
  15   May 9, 2008 and a provisional application filed May 9, 2007.
  16         380. Entropic owns all substantial rights, interest, and title in and to the ’910
  17   Patent, including the sole and exclusive right to prosecute this action and enforce the
  18   ’910 Patent against infringers, and to collect damages for all relevant times.
  19         381. The ’910 Patent is the Packet Aggregation Patent, and is generally
  20   directed to, inter alia, transmitting data over a network, where the transmitting device
  21   aggregates packets that are directed to a common destination node. This reduces the
  22   transmitted packet overhead of the network by eliminating interframe gaps, preamble
  23   information, and extra headers. ’910 Patent, col. 1, line 66 – col. 2, line 3. The ’910
  24   Patent has three claims, all of which are independent. At least these claims of the
  25   ’910 Patent are directed to a variety of techniques for aggregating packet data units
  26   in the MoCA network. A true and accurate copy of the ’910 Patent is attached hereto
  27   as Exhibit S.
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   1         382. The ’910 Patent is directed to patent-eligible subject matter pursuant to
   2   35 U.S.C. § 101.
   3         383. The ’910 Patent is valid and enforceable, and presumed as such,
   4   pursuant to 35 U.S.C. § 282.
   5         384. DISH deploys one or more of the Accused MoCA Instrumentalities
   6   (e.g., DISH Hopper, DISH Hopper with Sling, DISH Hopper DUO, DISH Joey,
   7   DISH Joey 2, and DISH Super Joey, the DISH Hopper 3, the DISH 4K Joey, and/or
   8   the DISH Joey 3) in connection with operating and providing the Accused Services.
   9         385. The Accused MoCA Instrumentalities deployed by DISH to customer
  10   premises remain the property of DISH while deployed.
  11         386. The Accused MoCA Instrumentalities operate while deployed in a
  12   manner controlled and intended by DISH.
  13         387. As set forth in the attached non-limiting claim chart (Exhibit T), any
  14   product or system operating in a MoCA network compliant with the charted
  15   provisions of MoCA 1.1, or 2.0 necessarily infringes at least claim 3 of the ’910
  16   Patent.
  17         388. Each aspect of the functioning of the Accused MoCA Instrumentalities
  18   described in the claim chart operates while deployed to customer premises in a
  19   manner controlled and intended by DISH.
  20         389. DISH provides no software, support or other facility to customers to
  21   modify any aspect of the functioning described in the claim chart of the Accused
  22   MoCA Instrumentalities while deployed to customer premises.
  23         390. The Accused MoCA Instrumentalities are compliant with MoCA 1.1.,
  24   and/or MoCA 2.0, as described in the ’910 Patent claim chart, Exhibit T.
  25         391. DISH therefore directly infringes at least claim 3 of the ’910 Patent by
  26   using the Accused MoCA Instrumentalities to provide Accused Services to
  27   customers.
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   1          392. DISH directly infringes at least claim 3 of the ’910 Patent when it, for
   2   example, uses the Accused MoCA Instrumentalities to test, demonstrate or otherwise
   3   provide Accused Services.
   4          393. DISH directly infringes at least claim 3 of the ’910 Patent by making,
   5   importing, selling, and/or offering for sale the Accused MoCA Instrumentalities,
   6   which meet every limitation of at least claim 3 of the ’910 Patent, in connection with
   7   providing the Accused Services over an on-premises coaxial cable network.
   8          394. DISH had knowledge of the ’910 Patent no later than its receipt of
   9   Entropic’s communications sent to DISH on March 9, 2022.
  10          395. DISH has been aware that it infringes the ’910 Patent no later than its
  11   receipt of Entropic’s communication sent to DISH on March 9, 2022.
  12          396. DISH has known of or has been willfully blind to the ’910 Patent since
  13   before the March 9, 2022 communications from Entropic.
  14          397. The ’910 Patent issued while or before DISH was a member of MoCA.
  15          398. Because of DISH’s knowledge of Entropic Inc.’s work and
  16   contributions related to MoCA technology, DISH had knowledge of the ’910 Patent
  17   before March 9, 2022 or was willfully blind to its existence.
  18          399. The claims of the ’910 Patent are essential to practicing at least MoCA
  19   standards versions 1.1, and/or 2.0.
  20          400. DISH knew, or was willfully blind to the fact that the technology of
  21   the ’910 Patent directly relates to networking over coaxial cable, including MoCA,
  22   at least as early as DISH became aware of the existence of the ’910 Patent. Because
  23   of its familiarity with, and access to, the MoCA standards, DISH knew, or was
  24   willfully blind to the fact, that use (by DISH or its customers) of instrumentalities
  25   compliant with MoCA 1.1, and/or 2.0 to deliver DISH services would necessarily
  26   infringe one or more claims of the ’910 Patent.
  27          401. Since learning of the ’910 Patent and its infringing activities, DISH has
  28   failed to cease its infringing activities.

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   1         402. DISH’s customers and subscribers directly infringe at least claim 3 of
   2   the ’910 Patent by using the Accused MoCA Instrumentalities in connection with the
   3   Accused Services provided by DISH.
   4         403. DISH actively induces its customers’ and subscribers’ direct
   5   infringement by providing the Accused Services through the Accused MoCA
   6   Instrumentalities, and associated support.
   7         404. For example, DISH actively induces infringement of at least claim 3 of
   8   the ’910 Patent by providing the Accused MoCA Instrumentalities to DISH
   9   customers with specific instructions and/or assistance (including installation and
  10   maintenance) regarding the instantiation of a MoCA network and the use of the
  11   Accused MoCA Instrumentalities to infringe the ’910 Patent.
  12         405. DISH aids, instructs, supports, and otherwise acts with the intent to
  13   cause an end user to make and/or use the MoCA network and/or use the Accused
  14   MoCA Instrumentalities to infringe every element of at least claim 3 of the ’910
  15   Patent.
  16         406. Additionally, DISH contributes to the customers’ and subscribers’ direct
  17   infringement. DISH provides, inter alia, the Accused MoCA Instrumentalities
  18   designed and configured to create a MoCA network and operate as nodes in the
  19   network, the use of which infringes at least claim 3 of the ’910 Patent.
  20         407. The Accused MoCA Instrumentalities have no substantial noninfringing
  21   uses. When an end user uses the Accused MoCA Instrumentalities in connection with
  22   the Accused Services provided by DISH, the end user directly infringes at least claim
  23   3 of the ’910 Patent. The Accused MoCA Instrumentalities are therefore especially
  24   made or especially adapted for use in an infringing manner.
  25         408. DISH’s inducement of, and contribution to, the direct infringement of at
  26   least claim 3 of the ’910 Patent has been, and is, continuous and ongoing through the
  27   acts described above in connection with DISH’s provision of the Accused Services.
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   1            409. DISH’s infringement of the ’910 Patent is, has been, and continues to
   2   be willful, intentional, deliberate, and/or in conscious disregard for Entropic’s rights
   3   under the patent.
   4            410. Entropic has been damaged as a result of the infringing conduct alleged
   5   above. DISH is liable to Entropic in an amount that compensates Entropic for DISH’s
   6   infringement, which by law cannot be less than a reasonable royalty, together with
   7   interest and costs as fixed by this Court under 35 U.S.C. § 284.
   8            411. Entropic is aware of no obligation to mark any instrumentality with the
   9   ’910 Patent in accordance with 35 U.S.C. § 287.
  10                                        COUNT XI
  11                            (Infringement of the ’0,566 Patent)
  12            412. Entropic incorporates by reference each allegation of Paragraphs 1
  13   through 411.
  14            413. The ’0,566 Patent duly issued on November 27, 2012 from an
  15   application filed October 15, 2009, and, inter alia, a provisional application filed
  16   October 16, 2008.
  17            414. Entropic owns all substantial rights, interest, and title in and to the
  18   ’0,566 Patent, including the sole and exclusive right to prosecute this action and
  19   enforce the ’0,566 Patent against infringers, and to collect damages for all relevant
  20   times.
  21            415. The ’0,566 Patent is the OFDMA Patent, and is generally directed to,
  22   inter alia, “allow[ing] multiple transmitting network devices to transmit under an
  23   orthogonal frequency divisional multiple access (OFDMA) mode to a receiving
  24   network device.” ’0,566 Patent, Abstract. The ’0,566 Patent has 18 claims, of which
  25   claims 1, 7, 13, and 16 are independent. At least these claims of the ’0,566 Patent are
  26   directed to a variety of techniques for assigning communication resources to one or
  27   more nodes in the MoCA network. A true and accurate copy of the ’0,566 Patent is
  28   attached hereto as Exhibit U.

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   1         416. The ’0,566 Patent is directed to patent-eligible subject matter pursuant
   2   to 35 U.S.C. § 101.
   3         417. The ’0,566 Patent is valid and enforceable, and presumed as such,
   4   pursuant to 35 U.S.C. § 282.
   5         418. DISH deploys one or more of the Accused MoCA Instrumentalities
   6   (e.g., DISH Hopper, DISH Hopper with Sling, DISH Hopper DUO, DISH Joey,
   7   DISH Joey 2, and DISH Super Joey, the DISH Hopper 3, the DISH 4K Joey, and/or
   8   the DISH Joey 3) in connection with operating and providing the Accused Services.
   9         419. The Accused MoCA Instrumentalities deployed by DISH to customer
  10   premises remain the property of DISH while deployed.
  11         420. The Accused MoCA Instrumentalities operate while deployed in a
  12   manner controlled and intended by DISH.
  13         421. As set forth in the attached non-limiting claim chart (Exhibit V), any
  14   product or system operating in a MoCA network compliant with the charted
  15   provisions of MoCA 2.0 necessarily infringes at least claim 1 of the ’0,566 Patent.
  16         422. Each aspect of the functioning of the Accused MoCA Instrumentalities
  17   described in the claim chart operates while deployed to customer premises in a
  18   manner controlled and intended by DISH.
  19         423. DISH provides no software, support or other facility to customers to
  20   modify any aspect of the functioning described in the claim chart of the Accused
  21   MoCA Instrumentalities while deployed to customer premises.
  22         424. The Accused MoCA Instrumentalities are compliant with MoCA 2.0, as
  23   described in the ’0,566 Patent claim chart, Exhibit V.
  24         425. DISH therefore directly infringes at least claim 1 of the ’0,566 Patent by
  25   using the Accused MoCA Instrumentalities to provide Accused Services to
  26   customers.
  27         426. DISH sells the Accused Services to its customers and subscribers for a
  28   fee. Pursuant to the sale of these services, DISH uses the method recited in at least

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   1   claim 1 of the ’0,566 Patent to provide the Accused Services to DISH’s customers
   2   and subscribers through the Accused MoCA Instrumentalities. DISH is therefore
   3   engaging in the infringing use of at least claim 1 of the ’0,566 Patent in order to
   4   generate revenue from its customers and subscribers.
   5          427. DISH directly infringes at least claim 1 of the ’0,566 Patent when it, for
   6   example, uses the Accused MoCA Instrumentalities to test, demonstrate or otherwise
   7   provide Accused Services.
   8          428. DISH had knowledge of the ’0,566 Patent no later than its receipt of
   9   Entropic’s communications sent to DISH on March 9, 2022.
  10          429. DISH has been aware that it infringes the ’0,566 Patent no later than its
  11   receipt of Entropic’s communication sent to DISH on March 9, 2022.
  12          430. DISH has known of or has been willfully blind to the ’0,566 Patent since
  13   before the March 9, 2022 communications from Entropic.
  14          431. The ’0,566 Patent issued while or before DISH was a member of MoCA.
  15          432. Because of DISH’s knowledge of Entropic Inc.’s work and
  16   contributions related to MoCA technology, DISH had knowledge of the ’0,566 Patent
  17   before March 9, 2022 or was willfully blind to its existence.
  18          433. The claims of the ’0,566 Patent are essential to practicing at least MoCA
  19   standards versions 1.1, and/or 2.0.
  20          434. DISH knew, or was willfully blind to the fact that the technology of
  21   the ’0,566 Patent directly relates to networking over coaxial cable, including MoCA,
  22   at least as early as DISH became aware of the existence of the ’0,566 Patent. Because
  23   of its familiarity with, and access to, the MoCA standards, DISH knew, or was
  24   willfully blind to the fact, that use (by DISH or its customers) of instrumentalities
  25   compliant with MoCA 1.1, and/or 2.0 to deliver DISH services would necessarily
  26   infringe one or more claims of the ’0,566 Patent.
  27          435. Since learning of the ’0,566 Patent and its infringing activities, DISH
  28   has failed to cease its infringing activities.

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   1         436. DISH’s customers and subscribers directly infringe at least claim 1 of
   2   the ’0,566 Patent by using the Accused MoCA Instrumentalities in connection with
   3   the Accused Services provided by DISH.
   4         437. DISH actively induces its customers’ and subscribers’ direct
   5   infringement by providing the Accused Services and associated support.
   6         438. For example, DISH actively induces infringement of at least claim 1 of
   7   the ’0,566 Patent by providing the Accused MoCA Instrumentalities to DISH
   8   customers with specific instructions and/or assistance (including installation and
   9   maintenance) regarding the instantiation of a MoCA network and the use of the
  10   Accused MoCA Instrumentalities to infringe the ’0,566 Patent.
  11         439. DISH aids, instructs, supports, and otherwise acts with the intent to
  12   cause an end user to make and/or use the MoCA network and/or use the Accused
  13   MoCA Instrumentalities to infringe every element of at least claim 1 of the ’0,566
  14   Patent.
  15         440. Additionally, DISH contributes to the customers’ and subscribers’ direct
  16   infringement. DISH provides at least the Accused MoCA Instrumentalities that create
  17   and are at least substantially all of a MoCA network to be used to infringe at least
  18   claim 1 of the ’0,566 Patent.
  19         441. The Accused MoCA Instrumentalities have no substantial noninfringing
  20   uses. When an end user uses the Accused MoCA Instrumentalities in connection with
  21   the Accused Services provided by DISH, the end user directly infringes at least claim
  22   1 of the ’0,566 Patent. The Accused MoCA Instrumentalities are therefore especially
  23   made or especially adapted for use in an infringing manner.
  24         442. DISH’s inducement of, and contribution to, the direct infringement of at
  25   least claim 1 of the ’0,566 Patent has been, and is, continuous and ongoing through
  26   the acts described above in connection with DISH’s provision of the Accused
  27   Services.
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   1           443. DISH’s infringement of the ’0,566 Patent is, has been, and continues to
   2   be willful, intentional, deliberate, and/or in conscious disregard for Entropic’s rights
   3   under the patent.
   4           444. Entropic has been damaged as a result of the infringing conduct alleged
   5   above. DISH is liable to Entropic in an amount that compensates Entropic for DISH’s
   6   infringement, which by law cannot be less than a reasonable royalty, together with
   7   interest and costs as fixed by this Court under 35 U.S.C. § 284.
   8           445. Upon information and belief, there is no duty to mark any
   9   instrumentality with the ’0,566 Patent in accordance with 35 U.S.C. § 287(a).
  10                                         COUNT XII
  11                             (Infringement of the ’681 Patent)
  12           446. Entropic incorporates by reference each allegation of Paragraphs 1
  13   through 445.
  14           447. The ’681 Patent duly issued on January 29, 2013 from an application
  15   filed October 15, 2009 and, inter alia, a provisional application filed October 16,
  16   2008.
  17           448. Entropic owns all substantial rights, interest, and title in and to the ’681
  18   Patent, including the sole and exclusive right to prosecute this action and enforce the
  19   ’681 Patent against infringers, and to collect damages for all relevant times.
  20           449. The ’681 Patent is the Clock Sync Patent, and is generally directed to,
  21   inter alia, improving local clock time synchronization between a plurality of nodes
  22   in a communication network. ’681 Patent, Abstract. The ’681 Patent has 40 claims,
  23   of which claims 1, 11, 21, and 31 are independent. At least these claims of the ’681
  24   Patent are directed to a variety of techniques for clock synchronization for nodes in
  25   the MoCA network. A true and accurate copy of the ’681 Patent is attached hereto as
  26   Exhibit W.
  27           450. The ’681 Patent is directed to patent-eligible subject matter pursuant to
  28   35 U.S.C. § 101.

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   1         451. The ’681 Patent is valid and enforceable, and presumed as such,
   2   pursuant to 35 U.S.C. § 282.
   3         452. DISH deploys one or more of the Accused MoCA Instrumentalities
   4   (e.g., DISH Hopper, DISH Hopper with Sling, DISH Hopper DUO, DISH Joey,
   5   DISH Joey 2, and DISH Super Joey, the DISH Hopper 3, the DISH 4K Joey, and/or
   6   the DISH Joey 3) in connection with operating and providing the Accused Services.
   7         453. The Accused MoCA Instrumentalities deployed by DISH to customer
   8   premises remain the property of DISH while deployed.
   9         454. The Accused MoCA Instrumentalities operate while deployed in a
  10   manner controlled and intended by DISH.
  11         455. As set forth in the attached non-limiting claim chart (Exhibit X), any
  12   product or system operating in a MoCA network compliant with the charted
  13   provisions of MoCA 2.0 necessarily infringes at least claim 1 of the ’681 Patent.
  14         456. Each aspect of the functioning of the Accused MoCA Instrumentalities
  15   described in the claim chart operates while deployed to customer premises in a
  16   manner controlled and intended by DISH.
  17         457. DISH provides no software, support or other facility to customers to
  18   modify any aspect of the functioning described in the claim chart of the Accused
  19   MoCA Instrumentalities while deployed to customer premises.
  20         458. The Accused MoCA Instrumentalities are compliant with MoCA 2.0
  21   described in the ’681 Patent claim chart, Exhibit X.
  22         459. DISH therefore directly infringes at least claim 1 of the ’681 Patent by
  23   using the Accused MoCA Instrumentalities to provide Accused Services to
  24   customers
  25         460. DISH sells the Accused Services to its customers and subscribers for a
  26   fee. Pursuant to the sale of these services, DISH uses the method recited in at least
  27   claim 1 of the ’681 Patent to provide the Accused Services to DISH’s customers and
  28   subscribers through the Accused MoCA Instrumentalities. DISH is therefore

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   1   engaging in the infringing use of at least claim 1 of the ’681 Patent in order to
   2   generate revenue from its customers and subscribers.
   3          461. DISH directly infringes at least claim 1 of the ’681 Patent when it, for
   4   example, uses the Accused MoCA Instrumentalities to test, demonstrate or otherwise
   5   provide Accused Services.
   6          462. DISH had knowledge of the ’681 Patent no later than its receipt of
   7   Entropic’s communications sent to DISH on August 9, 2022.
   8          463. DISH has been aware that it infringes the ’681 Patent no later than its
   9   receipt of Entropic’s communication sent to DISH on August 9, 2022.
  10          464. DISH has known of or has been willfully blind to the ’681 Patent since
  11   before the August 9, 2022 communications from Entropic.
  12          465. The ’681 Patent issued while or before DISH was a member of MoCA.
  13          466. Because of DISH’s knowledge of Entropic Inc.’s work and
  14   contributions related to MoCA technology, DISH had knowledge of the ’681 Patent
  15   before August 9, 2022 or was willfully blind to its existence.
  16          467. The claims of the ’681 Patent are essential to practicing at least MoCA
  17   standards versions 1.1, and/or 2.0.
  18          468. DISH knew, or was willfully blind to the fact that the technology of
  19   the ’681 Patent directly relates to networking over coaxial cable, including MoCA,
  20   at least as early as DISH became aware of the existence of the ’681 Patent. Because
  21   of its familiarity with, and access to, the MoCA standards, DISH knew, or was
  22   willfully blind to the fact, that use (by DISH or its customers) of instrumentalities
  23   compliant with MoCA 1.1, and/or 2.0 to deliver DISH services would necessarily
  24   infringe one or more claims of the ’681 Patent.
  25          469. Since learning of the ’681 Patent and its infringing activities, DISH has
  26   failed to cease its infringing activities.
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   1         470. DISH’s customers and subscribers directly infringe at least claim 1 of
   2   the ’681 Patent by using the Accused MoCA Instrumentalities in connection with the
   3   Accused Services provided by DISH.
   4         471. DISH actively induces its customers’ and subscribers’ direct
   5   infringement by providing the Accused Services and associated support.
   6         472. For example, DISH actively induces infringement of at least claim 1 of
   7   the ’681 Patent by providing the Accused MoCA Instrumentalities to DISH
   8   customers with specific instructions and/or assistance (including installation and
   9   maintenance) regarding the instantiation of a MoCA network and the use of the
  10   Accused MoCA Instrumentalities to infringe the ’681 Patent.
  11         473. DISH aids, instructs, supports, and otherwise acts with the intent to
  12   cause an end user to make and/or use the MoCA network and/or use the Accused
  13   MoCA Instrumentalities to infringe every element of at least claim 1 of the ’681
  14   Patent.
  15         474. Additionally, DISH contributes to the customers’ and subscribers’ direct
  16   infringement. DISH provides at least the Accused MoCA Instrumentalities that create
  17   and are at least substantially all of a MoCA network to be used to infringe at least
  18   claim 1 of the ’681 Patent.
  19         475. The Accused MoCA Instrumentalities have no substantial noninfringing
  20   uses. When an end user uses the Accused MoCA Instrumentalities in connection with
  21   the Accused Services provided by DISH, the end user directly infringes at least claim
  22   1 of the ’681 Patent. The Accused MoCA Instrumentalities are therefore especially
  23   made or especially adapted for use in an infringing manner.
  24         476. DISH’s inducement of, and contribution to, the direct infringement of at
  25   least claim 1 of the ’681 Patent has been, and is, continuous and ongoing through the
  26   acts described above in connection with DISH’s provision of the Accused Services.
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   1         477. DISH’s infringement of the ’681 Patent is, has been, and continues to
   2   be willful, intentional, deliberate, and/or in conscious disregard for Entropic’s rights
   3   under the patent.
   4         478. Entropic has been damaged as a result of the infringing conduct alleged
   5   above. DISH is liable to Entropic in an amount that compensates Entropic for DISH’s
   6   infringement, which by law cannot be less than a reasonable royalty, together with
   7   interest and costs as fixed by this Court under 35 U.S.C. § 284.
   8         479. Upon information and belief, there is no duty to mark any
   9   instrumentality with the ’681 Patent in accordance with 35 U.S.C. § 287(a).
  10                                     JURY DEMAND
  11         Entropic hereby requests a trial by jury on all issues so triable by right.
  12                                 PRAYER FOR RELIEF
  13   WHEREFORE, Entropic requests that:
  14         A.     The Court find that Defendants have directly infringed the Patents-in-
  15   Suit and hold Defendants liable for such infringement;
  16         B.     The Court award damages pursuant to 35 U.S.C. § 284 adequate to
  17   compensate Entropic for Defendants’ past and future infringement of the Patents-in-
  18   Suit, including both pre- and post-judgment interest and costs as fixed by the Court;
  19         C.     The Court increase any award to Entropic by a judicially appropriate
  20   amount;
  21         D.     The Court declare that this is an exceptional case entitling Entropic to
  22   its reasonable attorneys’ fees under 35 U.S.C. § 285; and
  23         E.     The Court award such other relief as the Court may deem just and
  24   proper.
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   1   Dated: February 10, 2023           Respectfully submitted,
   2
                                          By: /s/ Christina Goodrich
   3                                      Christina Goodrich (SBN 261722)
   4                                      christina.goodrich@klgates.com
                                          Connor J. Meggs (SBN 336159)
   5                                      connor.meggs@klgates.com
   6                                      K&L GATES LLP
                                          10100 Santa Monica Boulevard
   7                                      Eighth Floor
   8                                      Los Angeles, CA 90067
                                          Telephone: +1 310 552 5000
   9                                      Facsimile: +1 310 552 5001
  10                                      James A. Shimota (pro hac vice
  11                                      forthcoming)
                                          jim.shimota@klgates.com
  12                                      George C. Summerfield (pro hac vice
                                          forthcoming)
  13                                      george.summerfield@klgates.com
                                          K&L GATES LLP
  14                                      Suite 3300
  15                                      70 W. Madison Street
                                          Chicago, IL 60602
  16                                      Tel.: (312) 372-1121
                                          Facsimile: (312) 827-8000
  17
  18                                      Peter E. Soskin (SBN 280347)
                                          peter.soskin@klgates.com
  19                                      K&L GATES LLP
                                          Four Embarcadero Center, Suite 1200
  20                                      San Francisco, CA 94111
                                          Telephone: (415) 882-8200
  21                                      Facsimile: (415) 882-8220
  22
                                          Darlene F. Ghavimi (pro hac vice
  23                                      forthcoming)
                                          darlene.ghavimi@klgates.com
  24                                      K&L GATES LLP
  25                                      2801 Via Fortuna, Suite #650
                                          Austin, TX 78746
  26                                      Telephone: (512) 482-6919
                                          Facsimile: (512) 482-6800
  27
  28                                Attorneys for Plaintiff
                                    Entropic Communications, LLC
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